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          Exhibit A
     Case 1:25-cv-00381-ABJ            Document 60-1         Filed 03/05/25       Page 2 of 107




ContractingOfficers,
Thank you for loggingon - we really appreciateit. Pleasetake a few minutesto read throughthe
info1mationbelow. I am *not*"Blind CarbonCopying"(BCC'ing) you all, like I usually do. So, if you
notice any huge "red flags" in the guidancebelow,please "ReplyAll" and Josh, Vanessa,Laurent,and/or
I can get you answers as a group. We need to get theseTenninationNotificationsout ASAP.
We have been and will be receivinginformationon a "rolling" basis. Shortly,you will receive access to a
Spreadsheetowned by Mike Gleason(copiedhere) that includescontractactions for CRE. We will
receive Spreadsheetsfrom other Offices/ Divisionssho1tly.Mike G. will do his best to combinethose
Spreadsheetsifi'whenpossible,but since there is time sensitivityhere, we are asking you to push fo1ward
with what we have.
Here is how we're requestingyou issue Te1minationfor ConvenienceNotificationsand Continuationof
Se1vicesemails in the cominghours (ASAP):
    • The Spreadsheetsyou receive will includecontractswhere a Te1minationfor Convenienceis
      required (denotedby a "T4C" in the "Disposition"columnto the far tight within the
      Spreadsheet)as well as contractsthat shall continue(again, as identifiedin the "Disposition"
      column).
    • We are askingyou to send a separateemail for each contractthat requires a Te1mination
      Notification,as well as each contractthat is authorizedto continue(see below for requiredemail
      notificationwording).
          o   We understandthat "one-by-oneemails" obviouslymeans "more emailsto send," but there
              are many logisticalentanglementsthat make sendinga "BCC" email to all vendors
              impossibleand unadvisable. In paiticular,we have alreadyidentified"overlap" where
              some Vendorshave contractsthat must be Tenninatedfor Convenience*and*contractsthat
              will Continue(essentialse1vicesor othe1wise).We anticipateadditional"overlap,"as well.
    • The Spreadsheetsmay includeVendorPOCs (ContractManageremail addresses)for the contracts
      at issue, but please confnm they are conect before sendingany communications.Please fmd
      VendorPOCs in your contractsor emails, if needed.
    • For Te1minationNotifications: Please create a separate"Tennination"folderwithin the
      Modificationsfolder,and save the Te1minationemail in it. That way, when the fom1al
      Modificationto Temlinatefor Convenienceis issued at a later date, the notificationis there for
      easy reference.
    • For Continuationof Se1vicesnotifications: Please save the email in the Post-Awai·dfolderused
      for communicationswith the vendor/contractor.
    • Use the Spreadsheetsto denote when you have sent the Te1minationNotificationor the
      Continuationof Se1vicesNotification(again, see below for requiredwording). The Spreadsheets
      will have an "Email Sent to Vendor"column,where you should list "Yes" once you have sent and
      saved the applicableemail (Te1minationor Continuationof Se1vices).
          o   We will use these Spreadsheetsto Track our progress,and we will discuss these at the
              ProcurementPipelineMeetingtomonow (Wednesday)morning.

RequiredEmailNotificationWording

For contractsthat require a Te1minationNotification,please send the followingemail (one email for each
respectivecontract):
      Case 1:25-cv-00381-ABJ                 Document 60-1            Filed 03/05/25          Page 3 of 107
     Email Subject: Termination for Convenience of the Government – Contract # Insert Contract
     Number



     Pursuant to FAR clause 52.212-4(l), the Consumer Financial Protection Bureau (CFPB) hereby
     terminates in its entirety the subject contract, effective today. As such, you are directed to
     immediately stop all work under the subject contract, terminate all subcontracts, and place no further
     orders. You are also directed to provide by electronic means similar instructions to all
     subcontractors and suppliers. You are required to keep detailed, individual records of your steps
     taken and expenditures, if any, you intend to claim as a result of the CFPB terminating this contract.
     We request that you provide within 30 days the entirety of the termination settlement proposal(s), if
     any, you will be submitting for the subject contract. Finally, it is necessary that you immediately
     confirm receipt of this termination for convenience notice via an electronic mail (e-mail) response to
     me, the Contracting Officer for the subject contract.



For contracts that shall continue, please send the following email (one email for each respective
contract):



     Email Subject: Continuation of Services Notification – Contract # Insert Contract Number



     You might have received a blanket Stop Work Order from the Office of Finance and Procurement
     yesterday. Please note that you are being instructed to continue work on the subject contract and
     there will not be a work stoppage. The Office of Finance and Procurement will follow up if there are
     any additional changes in direction.



Again, thank you so much for your work on these! Please monitor your email for the first (and future)
Spreadsheet(s) from Mike Gleason. Thank you!!



Sincerely,

Nick Olson

Procurement Team Lead | Office of Finance and Procurement

Mobile:



Consumer Financial Protection Bureau
consumerfinance.gov




Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.
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          Exhibit B
       Case 1:25-cv-00381-ABJ      Document 60-1        Filed 03/05/25        Page 5 of 107




From: Galicki, Joshua (CFPB) ~>
Sent: Tuesday, February 11 20~
  : Olson, Nicholas CFPB                           • Palmer, Catherine CFPB
                                                                              >; Fils, Nicole (CFPB)
                                                                               right, Peggy (CFPB)
                                                                              >. McKay, Crystal
                                                                                  >; Salinas, Jerry
                                                                               1 ano, Michael (CFPB)


 c:    ar   . oar                              >; ra en . anner

~ Urgent Action: Contract Termination and Continuation Notifications (Emails)
URGENT UPDATE



Team,



We just received direction to terminate all Enforcement (102 contracts), Supervision (16
contracts), External Affairs (3 contracts), Consumer Response (20 contracts), Office of Director
(33 contracts), and Legal Division (all except 2 contracts - FD Online Licenses and litigation
data).

~·ve asked Mike to change the disposition for all these contracts in the shared sheets. We have
some changes we'll need to make with CRE, Director's Office, and Supervision since those
notifications went out already.



This means we're just now waiting on decisions for the Ops contracts.



Adding our BFS colleagues here as well.



Thx!



Josh
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         Exhibit C
         Case 1:25-cv-00381-ABJ              Document 60-1          Filed 03/05/25        Page 7 of 107


  C                     Consumer Financia
                        Protection Bureau


1700 G Street, N.W.. Washlnglon. DC 20552



                                                   February 11, 2025

         MEMORANDUM FOR [EmployeeFirstName] [EmployeeLastName], [JobTitle], [Division]

         FROM:                         Adam Martinez       ~6
                                       Acting Chief Human Capital Officer
                                       Operations Division, Front Office

         SUBJECT:                      Notification of Termination During Probationary Period​

         REFERENCES:​​                 5 U.S.C. § 7511
                                       5 U.S.C. § 3321(a)
                                       5 C.F.R. §§ 315.803 and 804
                                       5 C.F.R. § 316.304

                  This is to provide notification that I am removing you from your position of
         [JobTitle] and federal service consistent with the above references.

                 On [AppointmentDate], the agency appointed you to the position of [JobTitle]. As
         documented on your appointment Standard Form 50 (SF-50), your appointment is subject
         to a probationary/trial period. The agency also informed you of this requirement in the job
         opportunity announcement for the position.

                 Guidance from the Office of Personnel Management (“OPM”) states, “An
         appointment is not final until the probationary period is over,” and the probationary period
         is part of “the hiring process for employees.”1 “A probationer is still an applicant for a
         finalized appointment to a particular position as well as to the Federal service” 2 “Until the
         probationary period has been completed,” a probationer has “the burden to demonstrate
         why it is in the public interest for the Government to finalize an appointment to the civil
         service for this particular individual.”3
                Unfortunately, the Agency finds that that you are not fit for continued employment
         because your ability, knowledge and skills do not fit the Agency’s current needs.
                 For these reasons, I regrettably inform you that I am removing you from your
         position of [JobTitle] with the agency and the federal civil service effective [EffectiveDate].

                If you believe this action is being taken based on partisan political reasons or
         marital status, you have a right to file an appeal with the Merit Systems Protection Board
         (MSPB) under 5 C.F.R. § 315.806. You must file an appeal within 30 days of the effective

           1
             OPM, Practical Tips for Supervisors of Probationers.
           2
             See U.S. Merit Systems Protection Board Report to the President and Congress, The Probationary Period:
  A Critical Assessment Opportunity (August 2005)
           3
             Id.
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date of this decision or 30 days after the date of your receipt of this decision, whichever is
later. You should review MSPB regulations at 5 C.F.R. §§ 1201.14 and 1201.24 for
instructions on how to file an electronic appeal and content requirements of the appeal,
respectively. For more information, please visit www.mspb.gov or contact your local
MSPB regional or field office.

       You will be sent a postage paid box to return your CFPB ID badge, laptop, iPhone,
and other equipment or items owned by CPFB.

       For questions related to employee benefits (such as continuation of coverage for
health coverage, withdrawal of retirement contributions, etc.) or other matters associated
with employee benefits contact CFPB_HRBenefits@cfpb.gov.

        I appreciate your service to the Agency and wish you the greatest of success in your
future endeavors. If you have any questions, please you may contact the CFPB Employee
Relations team at CFPB_EmployeeRelations@cfpb.gov.
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         Exhibit D
                    Case 1:25-cv-00381-ABJ                      Document 60-1              Filed 03/05/25          Page 10 of 107

 I   I            National
 NCLC Center      Consumer L,,w                                                                               Katie Eelman                     >
 I   I
  Stop Work Notice - Contract
  BradenK. Sanner                                                                                                    Tue, Feb 11,2025 at 10:27 PM
  To:'
  Cc:


     Good Evening,


     You might have receiveda blanket Stop Work Order from the ConsumerFinancialProtectionBureau (CFPB), Office of
     Financeand Procurementyesterday,02/10/2025. Please note that this is your official notice, in accordancewith FAR
     52.242-15,with instructionto stop work on the subject contract immediately,incurringno additionalcosts, until otherwise
     instructedby the ContractingOfficer. Fiscal Service Procurementwill follow up if there are any additionalchangesin
     direction.This notice is effectiveimmediately,02/11/2025.



     Please confirm receipt of this email as soon as possible.



     Braden K. Sanner
     Supervisory Contracting Officer

     Bureau of the Fiscal Service




    -



https://mail.google.com/mail/u/0/?ik=c603e04c6b&view=pt&search=all&pennmsgid=msg-f:   1823820621020077020&simpl=msg-f: 1823820621020077020      Ill
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          Exhibit E
Case 1:25-cv-00381-ABJ                Document 60-1      Filed 03/05/25   Page 12 of 107




From:            Martjnez.
                        Adam(CFPBl
To:              Bishop.
                       James:Paoletta.
                                    Mark{CE
                                          PB)
Cc:                         (CfPB):Szyba!a.
                 Gueye.Jafnar            Ma (CFPB}:
                                                 Young.
                                                     Chrjstopher
                                                              (CfPBl
Subject:         CPFand FundingTransfer
Date:            Tuesday,February11, 2025 12:36:29PM


Hi Dan and Mark -

I wanted to introduce you both to J afnar Gueye, our Chief Financial Officer. There
are two items he is ready to assist on.

      1. At your convenience he will be ready to provide you a briefing on the Civil
         Penalty Fund including the contractor/vendor that serves as the Bureau's
         intermediary and the process for disbursements of funds to consumers.
      2. Jafnar is currently in communications with the Federal Reserve regarding the
         Bureau's ability to return money to either Treasury or the Federal Reserve if
         needed. He can provide you with an update and perhaps how the money is
         transferred to us, which is unique.

Adam

Adam Martinez
ChiefOperating Officer
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          Exhibit F
         Case 1:25-cv-00381-ABJ           Document 60-1          Filed 03/05/25     Page 14 of 107


Subject:
Subject:       FW: DUE AT NOON: Statutory requirement for contract data
Date:
Date:          Tuesday, February 11, 2025 at 11:11:39 AM Eastern Standard Time
From:
From:          Dorsey, Darian (CFPB)
To:
To:          PfaR, Matthew (CFPB)
Attachments:
Attachments: CR_Active Contracts List Completed.xlsx




Best,
Darian

Darian Dorsey
Deputy Associate Director | Division of Consumer Response and Education
Office:               | Mobile:

From:
From: Dorsey, Darian (CFPB)
Sent:
Sent: Tuesday, February 11, 2025 11:10 AM
To:
To: Gueye, Jafnar (CFPB)
Cc:
Cc: Johnson, Christopher (CFPB)                                         ; Galicki, Joshua (CFPB)
                           ; James, Dana (CFPB)                                 ; MarPnez, Adam (CFPB)

Subject:
Subject: RE: DUE AT NOON: Statutory requirement for contract data

Hi Jafnar,

Please see aYached for Consumer Response and EducaPon.

Best,
Darian

Darian Dorsey
Deputy Associate Director | Division of Consumer Response and Education
Office:               | Mobile:

From:
From: Gueye, Jafnar (CFPB)
Sent:
Sent: Tuesday, February 11, 2025 10:27 AM
To:
To: Pass, Sonya (CFPB)                             Sokolov, Dan (CFPB)                           >; Gelfond,
Rebecca (CFPB)                                 ; Dorsey, Darian (CFPB)
Chang, Jean (CFPB)                           ; Warren, LaShaun (CFPB)                                    ;
Huggins, Cassandra (CFPB)                                     ; SuYon, Jocelyn (CFPB)
                           ; White, Sonya (CFPB)
Cc:
Cc: Galicki, Joshua (CFPB)                               ; James, Dana (CFPB)                           ;
Halperin, Eric (CFPB)                            ; Salas, Lorelei (CFPB)                          ; Johnson,
Christopher (CFPB)                                      ; MarPnez, Adam (CFPB)
                             ; Pappalardo, Janis (CFPB)
Subject:
Subject: DUE AT NOON: Statutory requirement for contract data
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Deputies,


We have a ve1y quick turnaround data call asking you to identify which of your contracts directly support
a statuto1y requirement, meaning that we would not be able to meet a statuto1y requirement without this
contract.
This is similar to the data call sent earlier but applies to all of your contracts.
Please look at your respective files and mark in col [F] all the contracts that fall under the criteria along
with a brief one sentence summarizing the statutory language that supports the requirement.
Apologies for the quick turnaround.

Thank you

Respectfully,

J afnar Gu eye
Chief Financial Officer (CFO)
Office of Finance and Procurement




Consumer Financial Protection Bureau
consun1erfinance.gov


Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
the e-mail and any attachments. An inadve1tent disclosure is not intended to waive any privileges.
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         Exhibit G
I   I       National   Case 1:25-cv-00381-ABJ    Document 60-1        Filed 03/05/25      Page 17 of 107
NCLC        ConsumerLaw                                                            Shennan Kavanagh
I   I       Center




Fwd: Termination for Convenience of the Government- Contract 20343021C00006
1 message

                                                                                                  Wed, Feb 12, 2025 at 4:17 PM


 FYI on the below.

 Can someonelet me know if I should respondto confirmreceipt?

 Thanks!

 ---    Forwardedmessage------
 From: MarkA. Board                               >
 Date: Wed, Feb 12, 2    a :
 Subject:Terminationfor Convenienceof the Government- Contract 20343021C00006
 To:
 Cc:                                              >, Sanders,Kathy (CFPB)                            >, BradenK. Sanner




 Good Afternoon,

 On 02/11/2025, you were notified to stop work. Pursuant to FARclause 52.212-4(1), Fiscal Service Procurement on the
 behalf of the Consumer Financial Protection Bureau (CFPB)hereby terminates in its entirety the subject contract,
 effective 02/12/2025. As such, you are directed to immediately stop all work under the subject contract, terminate all
 subcontracts, and place no further orders. You are also directed to provide by electronic means similar instructions to
 all subcontractors and suppliers. You are required to keep detailed, individual records of your steps taken and
 expenditures, if any, you intend to claim as a result of the CFPBterminating this contract. We request that you provide
 within 30 days the entirety of the termination settlement proposal(s), if any, you will be submitting for the subject
 contract.

 Finally, it is necessary that you immediately confirm receipt of this termination for convenience notice via an electronic
 mail (e-mail) response to me, the Contracting Officer for the subject contract.




 Thanks,

 Mark Board
 Lead Contracting Officer
 Bureau of the Fiscal Service
 Office of Shared Services/DPS
 Office:
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         Exhibit H
     Case 1:25-cv-00381-ABJ                 Document 60-1     Filed 03/05/25   Page 19 of 107

                    Consumer Financia
                    Protection Bureau


1700 G Street, N.W., Washington, DC 20552


MEMORANDUM FOR:                    JULIA BARNARD
                                   MARKETS & POLICY FELLOW (PROG MANAGER)
                                   DIRECTOR, OFF POLICY PLAN & STRAT

FROM:                              Adam Martinez
                                   Acting Chief Human Capital Officer
                                   Operations Division, Front Office

DATE:                              February 13, 2025

SUBJECT:                           Termination of Temporary/Excepted Appointment

On February 27, 2022, you were hired on a Temporary Excepted Service appointment as a/an
MARKETS & POLICY FELLOW (PROG MANAGER) in DIRECTOR, OFF POLICY PLAN &
STRAT, at the Consumer Financial Protection Bureau for a period not to exceed February 27,
2026.

The purpose of this memorandum is to notify you that your employment will be terminated
effective at the close of business on February 13, 2025, due to Executive Order Implementing
The President's "Department of Government Efficiency" Workforce Optimization Initiative –
The White House dated February 11, 2025.

If you believe this termination is being taken in whole or in part because of discrimination based
on race, color, religion, sex, national origin, disability, age, genetic information, pregnancy
and/or reprisal for prior EEO activity, you may file a discrimination complaint with the Agency’s
Office of Civil Rights. To initiate the formal discrimination complaint process, you must first
contact an EEO Counselor within forty-five (45) calendar days of the employment action or
event you believe is discriminatory, harassing, or retaliatory. You may contact the Office of Civil
Rights at                           or                   ,                   or              (TTY).

If you believe this action is in retaliation for your making protected whistleblowing disclosures,
you may also seek corrective action from the U.S. Office of Special Counsel (OSC). If you do
so, your appeal may be limited to whether the Agency took one or more covered personnel
actions against you in retaliation for making protected whistleblowing disclosures, and you will
not be able to challenge the decision on other bases in that action. To seek corrective action from
the OSC, you may submit your complaint online. More information on or about filing a
complaint with the OSC may be found at https://osc.gov/Pages/File-Complaint.aspx. As an
alternative, you may communicate in writing to the following address:

                                         Complaints Examining Unit
                                        U.S. Office of Special Counsel
                                        1730 M Street, N.W., Suite 218
                                         Washington, DC 20036-4505
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  If you believe you qualify as an employee under 5 U.S.C. § 7511, you may have the right to
  appeal this action to the Merit Systems Protection Board (MPSB) no later than 30 calendar days
  after the effective date. Failure to file a timely appeal could result in dismissal of your appeal
  absent good cause. Your appeal may be made by mail, facsimile, commercial overnight delivery,
  personal delivery, or electronically at http://e-appeal.mspb.gov. A downloadable appeal form
  and additional information are also available at the MSPB website at
  https://www.mspb.gov/appeals/forms.htm. The date of filing by mail is considered to be the date
  of the postmark, the date of the filing by facsimile or electronically is the date of successful
  transmission. If the filing is by personal deliver, it shall be considered filed on the date it is
  received by the MSPB.

  The appeal should be filed with the MSPB Regional Office located closest to the employee’s
  duty station - https://www.mspb.gov/about/contact.htm.

  Any appeal to the MSPB must include the following information, which identifies the Agency
  official to whom the MSPB will send a copy of your MSPB appeal and the Acknowledgement
  Order issued on your appeal: Assistant General Counsel, Legal Division, CFPB, 1700 G Street,
  NW, Washington, DC, 20552,                                       .

  You will be sent a postage paid box to return your CFPB ID badge, laptop, iPhone, and other
  equipment or items owned by CPFB.
  For questions related to employee benefits (such as continuation of coverage for health coverage,
  withdrawal of retirement contributions, etc.) or other matters associated with employee benefits
  contact CFPB_HRBenefits@cfpb.gov.

  You can request a copy of your OPF documents from Bureau of Fiscal Services (BFS) at
           option 4 or OPFInquiries@fiscal.treasury.gov.                                   -
  I appreciate your service to the Agency and wish you the greatest of success in your future
  endeavors. If you have any questions, please you may contact the CFPB Employee Relations team
  at CFPB EmployeeRelations@cfpb.gov.




consumerfinance.gov
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            Exhibit I
   Case 1:25-cv-00381-ABJ       Document 60-1      Filed 03/05/25       Page 22 of 107




February13,20251
lnfmnationMemofor the.ActingDirector
                                                               ConsumerResponse&
 FROM

 SUBJECT                 Diwional Staffing


 Select      □Situational       □R&,qu.est fm   jgReplyto   □ Draft
 Applicable  Awamicss           Directional     Inquiryfrom Documem
 Infcmnation                    Feedback.       Director/FO F~k
 Typc(s)                                                      Request


muc
Thispurposeof thismemorandum is toprovidel.n.fmmalion
                                                   aboutbow the staff of the Consumm-
R.esponseandEdw:ationDivisionalignto theConsumerFinancialProtectionBureau's(CFPB's)
mrutoryobligations.
Jlivl.dQMI  Background.
TheOm.sumerRaponseand EducationDivision(CRE)iJ responsiblefor executingthe CFPB's
first two statutmyfunctions~
                           (I) conductingfinancialeducationprograms.and(2) eollectin&
invcstigatingJ and respondingto consumercomplaints.See 12USC551l(cXl)-(2).CREwthe
publicaceof CheCFPBto individualsandtheirfamilies,4eliveringscalableservicesandtools
designedto empower    consumers to sharefh&rexperi~ in 1hemarketp~ respondto
ooallenges,. andmakebetterinformedfinancialdecisi.om.
TherearetwoofficeswithinCRE:the OfficeofF.ina:ncial    Educationand the Officeof Consumer
Response.FinancialBducationis responst"bfe for nvuiagioga suiteaf morethanSOedllcational
toolsandresoun;es,disttibutingthosetoolsto users,and ma.rcbing 1hceffcctiven~ of finmcial
cducatioop:og:,:ams.Financial&iocationis also~pomil>le for supportingthe Director's
membershipin the FinancialLitmcy andF.ducatiOll   Commission.  FinancialEducation'scontent
is someof the most frequentlyvisitedcontenton the CFPB'swebsite.

ConsumerR.espomeis responsiblefor answmingqwsti~ handlingcomplaints.,~ sharingdata
and insights.ConsumerRespomemanagti!S    the CFPB'stoll-he numberand complaintprogram
fromend-to-end.C.Omumor    Responseis al.sore.,ponsiblofora.ssutmg
                                                                 complaintprocess •
stakeholders(e.g.. respoodingto congxcssionalmemberswith1heirconstitucms'~lain~
JWistingCompanyPon.alusersastheyrespondto theircustomer'sconcerns)    and sharing
complaintinfmmation.   withFedm.1andStateagencies.

The curnot headcount for CRE Is approlimately 1S0-1S5fuB..timeemployttt. The
fund:ional areu lhted bdow alignedto statutory respooslbllitie, total appronmately 80 to
85.
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Officeof Finandll Education
12USCS493(d)requiresthe Directorto "establishan Officeof FinancialEducation,whichshall
be rcsp()llSible
              for developingmd iqJlementing initiatesintendedto educateand empower
conswnersto makebetter informedfinancialdecisions.., Thereis one competitiveara withinthe
FmancialF.ducation,respomiblefordeliveringseveralstatutoryobligations:

   • Developingand implementinginitiativesintendedto educateand ~wer           consumersto
     makebetterinfom1edfinancialdecisions.Su 12USC5493(d)(l).
   • Developingand imp)ementinga strategyto improvethe financiallitmcy of amswners
     lhat includesmea.mrablegoalsand objectives,in coo.sultation  with the FinanciaJLiteracy
     and EducationCommission.Se.e12USC S493(d)(2).
   • Coordinatingwilhotherunitswithinthe BureauiDcarryingout its functiom,including
     workingwith the CormnmityA.flmnOfficeto implementthe strategyto ID1)!0V·Cfinancial
     litm.cy of consumers;aodworkiogwith the researchunitestablishedby the Directorto
     conductresearchrelatedto consumerfinancialeducationand counseling.See 12USC
     5493(d)(3).
   • Submittinga reporton its financialliteracyactivitiesand strategy to improvefinancial
     literacyof consumers
                        See 12USCS493(d)(4).

The currentheadcomtfor this area is 12.

Officeof Consumer Response
12USC:5493(b)(3)(A)    requiresthe Directorto ~establisha unitwhosefunctionsshallinclude
emblishing f\ single,toll-freetelephonenumber,a website,and a database... to facili1atcthe
centmlizedcollectionot: monitoringot andresponseto consumercomplaintsregardingconsumer
financialproductsand or services!'12 USC5S34(a):requiresthe CFPB"to provide a timely
responseto collSllDller&,
                        in writing whereappaopriatc,to complaintsagainst, or inquiries     •
conceming,a cov«edperson!' 1S USC 168li(e) establishesa proces.,by whichth~ CFPBmu.«
act and reportouton certaincmlit andconsumerreportingcomplaints.    ConsumerResponsemust
coordinatewith certainCFPBofficesand personnel.includingthe PrivateStudentLoan
OmbudsmanandOfficeofServicemember         Affairs.See 12USCS493(e),12 USC5535.

OmsumerResponsebas severalcompetitiveareas:

ColUlllllel'Resourot,
                   Cmter
12 USCS493(b)(3)(A) dircct:sthe CFPBto aeate establisha single,toll-freenumber.This team
managesa OmsumerResourceCenter(CRC),whichreceivesmorethan 40.000callsper month.
The CRC amwers<:OllSUDlCIS' inquiries,acceptsand providess~ updateson complaints,and
directsCODSUIDers
              resources  suchasstateand localservices.

The currentheadcountfor this area is 3.

ComplaintHandling
12 USCSS34(a)requiresthe·CFPBto timelyrcspoodto consumers,includingany respooses
receivedby theregulatorfromthe coveredperson.Thisteamdirectsthecomplaintsto companies
for a response..
  Case 1:25-cv-00381-ABJ          Document 60-1     Filed 03/05/25           Page 24 of 107




The currentheadcountfor thisarea is 7.

POl'tlll
       Opattti,o,ns
12use 5534{b)requirescertaincoveredpersonsto providea timelyresponseto the :regulator.
This teamis responsiblefor respondingto stakeboldersupporttic.kets,includingtickds submitted
by company,congressional,and governmentportalusers.

Thecurrentheadcountfor this areais 7.

MosaicPrognun
12USC S493(b)(3)(A)directstbeCFPB to ~tc establisha databaseto facilitatethe centralized
collectionof complaints.12USCS493(b)(3)(D)   requiresthe CFPBto shareoonsumercomplaint
infoIIDation
           with prudentialregulators.the FederalTradeCommission,otherFederalagencies,and
State agencies.This teammanage,the technologythat facilitatesthe handlingof more than
350,000complaintsper month
Thecurrentbeadc01mtfor this area is S.
brvatigati.ons(Rgur.to,y OJ,r,pli'°'"7Co,nplllintMonitoring, Researchanti~
Bscolado•CaseMan,genu!llt)
                                                  0
12USC5511(cX2)requiresthe CFPBto "investigate       complaints.Additionally.12USC •
S493(bX3XA)  requiresthe CFPBto ''monitor''complaints.Thisteamis responsiblefor
mmitoriogand investigatingthe morethanthree millioncomplaintsthe CFPBrccdves annually.
This teamconductsinvestigativeinquiriesreceivedby the Director'sOffice.This teamalso
oonductsanalysesthat supportthe Chiefof Staff's teameffortsto meetthe publicationof statutory
reportsand supportsrulelookbackusessmentsas requiredby 12USC 5512.                            ~
                                                                             I



Thecurrentheadcountfor this ma is 30.                                        ii
                                                            'I           I        I                 II




~/lqmting                                                          11                           I

12useS493(e)and 12 useSS3SrequiresConsumerRespometo~                   wi~ ~ Officeof
Smi~          ~~the         PrivateStudent~ Oni>~man~ ~~1y.               'lbis=unis
respom1bJefor workingwith these officesfor their oomplaintmonito,nngvJtnk
                                                                        I        Iii                           I I       1


                                                                 J   I                     I'       It   I'      I
nwcum:111headoowltforthis....,is4.                     11 ' 11 I!"I ,i ' 111'
                                                                           II I                               i jl •
Stauho/4e,'.Bngoganent                         I      I I Iii' 1, II i ,11l1    Ii1   I'
                                                                                       i   I                         I

12USCS493(bX3)(A)     directs the CFPBto "coordinatewith the ~ederalTradeCommissionor
otherFederalagenciesto routecomplaintsto suchasencies,whereappropriate.''Additionally,12                         I



USCS493(b)(3)(D)   requiresthe ~B _to"shareco+.        ~laint information~ p~al
regulators,the FederalTrade Commission.otherFedeialagencies,and State agfDC:les    .•:•. This
teamis responsiblefot worldngwith fedcraland state agencies,including
                                                                  I
                                                                        stateAUbmcysGeneral.1
The cuneot headcountfor lhis area is S.
       Case 1:25-cv-00381-ABJ         Document 60-1     Filed 03/05/25     Page 25 of 107




• adefof S/4.ff Team
   ComumerResponseis respolWblcfor publishingor contributingto the publicationof several
   aq,orts.Thosereportsino]ude:
      • ConsumerRCSJ)()meAnnual Report (asrequiredby 12 useS493(bX3)(D))
      • Fair CreditReportingAct 61l(e) Report(asrequ:iredby 15 USC l681i(e)(S))
      • Fair Debt Collection Pnctices Act Report(as requiredby 15 USC 1692m)
      • CFPBSemi-Amual Reports (required by 12 USC5496)

                        for the production and publication of these MpOIU~incJudingany follow-
   This t.eamis MSpODBib]c
   up questionsfromoversightbodies.

   The cumnt headcount for this area is S.

   Managementand Open.dom
   This team providedthe executivedireictionfor both offices within 1he division. The current
  divisionalexecutives each have a dual role both dtvision and office level executives. The office
  level executive positions remain vacant. The teamalso providescentralizedsupportto eaoh office
  regarding resouroemanagement functioM includingbudget, acquisitionrnamagemmrt,          training,
  managcmcotreportin&and coordinationwith intmw and extemal stakeboJders,and oversight
  bodies such as GAO and OIG.

  The currenthead=ountfor this area is 5.
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           Exhibit J
          Case 1:25-cv-00381-ABJ                     Document 60-1   Filed 03/05/25        Page 27 of 107


  From: CFPB_HCSysOps
Subject: Updated Timekeeping Instructions for PP03
   Date: February 14, 2025 at 12:27 PM
     To:
    Cc: CFPB_WorkLife


       Colleagues,

       On Monday, February 10th CFPB’s Acting Director issued guidance for Bureau staff to
       pause work tasks. In accordance with the Acting Director’s guidance employees should
       exercise administrative leave until otherwise instructed. For staff who have been asked to
       work by the Acting Director, the Chief Legal Officer, or another designee (i.e. through their
       leadership chain, etc.) they should record that time as they normally would. All time not in a
       working status should be reflected in webTA under the “Admin/Excused Absence” leave
       transaction category.

       Please refer questions to the CFPB_WorkLife@cfpb.gov
                                            ---------   -- -- box so the Office of Human
       Capital can provide clarifying guidance as needed.

       V/R

       Roland Jacob
       Human Capital Operations Manager
       Systems and Operations | Office of Human Capital
       Office:              | Mobile:

       Consumer Financial Protection Bureau
       consumerfinance.gov
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         Exhibit K
          Case 1:25-cv-00381-ABJ                        Document 60-1             Filed 03/05/25   Page 29 of 107


  From:                                                 ■
Subject: Please Read: CFPB Regional Office Operating Status (Week of 2/17)
   Date: February 17, 2025 at 1:21 PM
     To:




       (This message is sent on behalf of Adam Martinez, Chief Operating Officer, for
       CFPB Regional Office Staff and Contractors)

       Dear Colleagues:

       The CFPB Regional Offices will remain closed this week (2/17-2/21). Employees
       and contractors approved to work should do so remotely unless otherwise
       instructed.

       Thank you.

       Adam

       Adam Martinez
       Chief Operating Officer

                                                     SERVE   Director's Mission
                                                      LEAD   Achievement Award
          C                Con:u1m1uFinancio.l
                           PrO!leCbMi Bureau
                                                 INNOVATE
                                                             Recipient



       consumerfinance.gov

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          Exhibit L
             Case 1:25-cv-00381-ABJ                    Document 60-1              Filed 03/05/25             Page 31 of 107




RE:AeQuestlngauthorizationto repairthe cf.gov homepage

                                                                                   >
                                           Man,nM,l\dam!Cf PB), Cc:     O SCQll,Adam(CFPB)    .,




 Mv undertund,ng is that the dec1~1onto dcl(lte the homepa~ was made by A~ng Director Vought, and h was not an ettormade    by the members
 of the DOGEteam. We do not haveauthoriutlon at this t1mcto restore th@ homepageor engagethe DOGEtum in an AAR.

Chris Chllben



From:                                               >
Stnt:TueSday February18, 2025 8:15 AM
To: Martinez, Adam                                      Cl11lbert,Chrls1opher
Cr;: Swtt. Adam (CFPB
Subject: Reque"5bng authorization to repair the cf.g0Vhomepage

AdamandCl\ris.

Apologies for the unusual email address.These are unusual times,· and I haveo request ror authorizstlon to work that I'm not sure should
beaddressed to one a the ottier of you, so I figured I would keep you both In the loop. I have also cc'ed my manager for VfSlblUiy,so ne can
be aware if such ...,1>rk
                        is authoriled

Based on news reports mat GavenKliger Is now atthe IRS,itseems like the DOGE01ganlzauon is largely done with its technical worl<at1he
agency to ~improve the quality and clffcieocy or government-wide :ioltware, network infra:nructure, and lnformarion l8chnology (IT)
systems."'

As part of this worlc on Improving Quality. they also damaged the website by deleting the homepage for some unknown reason. I have heard
tho1 CFPB suiff were able to persuode them to not delete 011erythingentirely (as they did for USAJD).I struggle t<>undemand why this
deletion was necessary stall and why they demanded access to the website with extreme urgency lete on a Friday night. Despite thelt stated
assu!'llnces, 1tseems they did not follow our processes, nor did they wait for on employeesigningon under overtime to onboard them Into
our website's CMS,Wagtail.From what I understand, it seems that they instead used global admin prMleges on our SSOldenuty provider to
force 00011sainto our system ond make tho change on their own. I have many questions still, but I hope to booble to txplorcthem throughu
more establlshed process rather than relying on hearsay (see below).

I know some teams have baen rer;erved eutl1orization to continue working desp,1e the general stop•work order from the Acting Director. I
wovtd like t-o request authorizetion for two ocoi>es of-work:


      I would Ukefor my team to repair the website's homepage. The rest or the site does remain accessible to the general public, but ha'lllng
      a broken homepage has damagedseveral aspects of our technical operations already:
         a. Sito crawling by search indices UkeGoogle is likely not happening, this will damage our SEOand vislblhty to the world and ca11se
             our content to become less visible in search over time
         b. I have confirmed also that our automated accessibility scanning is now malfunctioning and is unable to verify our site stt!l
             meets its mandated 608 compliance tor eccesslbltrty
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        Exhibit M
   Case 1:25-cv-00381-ABJ               Document 60-1                Filed 03/05/25   Page 33 of 107


From:         Service Desk (CFPB)
Subject:      Service Advisory: Virtual Desktop Access Unavailable After 2/28/2025
Date:         Wednesday, February 26, 2025 10:14:16 AM




What's Happening? The Citrix Virtual Desktop will be unavailable after Friday,
February 28, 2025, at 11:59 PM EST. You are receiving this notification because you
logged into the Virtual Desktop in the past 90 days. Access to the Virtual Desktop via
https://work.cfpb.gov and https://csf.cfpb.local will no longer be available.

When: Friday, February 28, 2025, at 11:59 PM EST

Need More Info? Please refer any questions or concerns regarding this event to the
CFPB Service and Support Portal, the CFPB Service Desk at 202-435-7777 (external),
x57777 (internal), or email ServiceDesk@cfpb.gov.
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          Exhibit N
          Case 1:25-cv-00381-ABJ                       Document 60-1                Filed 03/05/25             Page 35 of 107


  From: CFPBHROps CFPBHROps@fiscal.treasury.gov
Subject: Automatic reply: question re separation papers
   Date: February 27, 2025 at 9:27 AM
     To:

       We are working diligently with the agency during this transition to provide necessary documents related to your recent or impending
       separation.

       Please provide a personal email address and updated mailing address to ensure timely and effective communications.

       All separated employees will be receiving a copy of their SF-50, Notice of Personnel Action, as well as a separation packet with information
       regarding unemployment, benefits and lump sum annual leave payment, if applicable.

       Employees will have a 31-day extension of their health insurance from the date of separation provided by your health insurance carrier at no
       cost to you. Dental and Vision benefits will terminate upon the date of separation.

       Thank you for your patience.
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         Exhibit O
     Case 1:25-cv-00381-ABJ                         Document 60-1                  Filed 03/05/25            Page 37 of 107
~=:....,.ial,\MIJ
Subject: Pickup of Personal Belongings and Return of Equipment from the CFPB HQ
To:
CC:


Good afternoon.
We recognize that you have personal property, work materials, and federal records in your office or cubicle. To prepare to vacate the
building, the Operations team has packed up your personal belongings for pickup at 1700 G Street. They are working closely with your
division's leadership to take great care with your personal property, confidential matters, federal records, and other items.

To retrieve your personal belongings, you must schedule an appointment by emailing the following information to

      •   Your full name
      •   Your designee, if needed (see below for additional details)
      •   Where your property is located (e.g., office/cubicle number, 6th floor locker number, pantry)
      •   A time on March 3 rd, 4th, 5 th , or 6Ih between 8am-4pm
      •   Any additional details related to your personal property that can help us identify or properly handle them (e.g., medications in the
          refrigerator that need to remain cold, personal papers that contain private information. etc.)


If you have equipment to return to the CFPB, you may return your IT equipment and PIV card during this visit. Please note that you will:
       • Need to return all laptops, iPhones, secure thumb drives and any other equipment with an asset tag
       • Not need to return printers, keyboard, mice, monitors, docking stations, laptop bags/backpacks, headsets, laptop locks, filing
          cabinets, paper shredders, or cables
       • Receive a hardware asset receipt identifying the equipment you return


After scheduling an appointment, you will receive a confirmation email with additional details. Except in special situations, items that are not
picked up by March 6, 2025 will be considered abandoned and will be disposed of. While we cannot ship items to you, you may designate
another staff member with a valid identification to pick up your items on your behalf.

If driving, consider parking at a public parking garage, on the street, or the loading dock area on F Street. The parking garage at 1700 G
Street will not be open for these pickups.

We recognize that this is a difficult situation and here to support your transition.
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          Exhibit P
    Case 1:25-cv-00381-ABJ        Document 60-1     Filed 03/05/25    Page 39 of 107

From: Martinez, Adam (CFPB)
Sent: Thursday, February 27, 20
  : Pappalardo. Jani CFPB)
                       >: Eps I

                                          ond (CFPB
                                         r, Deborah (
                                        ; Dodd-Rami     ,



Hi RMR Colleagues - Good afternoon.

Thank you for your patience as we continue through transition and our new leadership's
review of the Bureau.

On February 8 (email attached), our Acting Director outlined several areas where work
stoppage was being implemented at the Bureau. He did exclude areas approved by him
or required by law. We want to ensure that you are aware that statutorily required work
and/ or work required by law are authorized.

Your teams are authorized to continue carrying out these responsibilities. Any actions
or communications with outside parties must be sent to Mark Paoletta, Chief Legal
Officer and Daniel Shapiro, Deputy Chief Legal Officer.

Should you have any questions at all, please feel free to contact our Chief Legal Officer
as directed by the Acting Director. Alternatively, you are always welcome to reach out
to me if needed. I am happy to share guidance provided to other leaders and employees
regarding authorized work, including my own team.

Thank you for your support.

Adam

Adam Martinez
Chief Operating Officer
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         Exhibit Q
          Case 1:25-cv-00381-ABJ        Document 60-1      Filed 03/05/25     Page 41 of 107


  From: Brown, Jason (CFPB)
Subject: updates
   Date: February 28, 2025 at 5:11 PM
     To: _


       Hi All,

       I believe all of you have received the direction from the COO through your section chiefs
       that we are to fulfill our statutory obligations subject to the limitations provided in the
       February 8 email from Acting Director Vought. We stopped most of our statutory work, I
       know, not because of the February 8 email, but because of the February 10 email. I
       clarified this point with the COO.

       I interpret the direction to mean that we should resume conducting research, a statutory
       responsibility. This means accessing the research servers, cleaning and analyzing data,
       and writing drafts and reviewing research. I would also include corresponding with co-
       authors as an essential research function.

       This leaves a number of questions, particularly with regards to external engagement.
       Questions about external engagement include 1) posting data to the Bureau website; 2)
       publishing Bureau research and SDR; 3) attending outside events, including research
       conferences; 4) presenting at outside events, including research conferences. In
       conjunction with the RMR FO, we are seeking guidance on these questions. There are
       specific activities I am seeking immediate approval for:
          1. Publication of the Consumer Credit Trends and Mortgage Performance Trends
          2. Permission for FHFA to field the NSMO
          3. Household Financial Stability phone call with the Federal Reserve System
          4. Consumer Finance Round Robin
          5. Boulder Conference (presenters only)
       Because we have not sought approval for anything yet, I would like to hold off for the next
       few days on seeking approval to post papers on SSRN or submit new pieces to journals. If
       you have materials already under review at journals, I encourage you to continue working
       and corresponding with the editors with the expectation that our current posture will have
       changed by the time publication is imminent.

       In other non-research responsibilities (e.g., rulemakings and exam work), there is some
       conflicting guidance about whether we should move forward or not. We are asking about
       that.

       But this leads to another question: under what conditions should someone in OR continue
       to take administrative leave, or do we take this direction as instruction to work full-time on
       research and other approved statutory responsibilities, unless there is nothing research-
       related for someone to do? How do we code WebTA at the end of the pay period? We are
       also seeking guidance on this.

       Many of you have already jumped at the chance to resume your research. Alas, many of
       you are finding that the Research Environment is not functioning as before, impairing your
       ability to fulfill our statutory research obligations. Thank you for noting the difficulties you
       are encountering and passing them on to your supervisor. I have let the CIO and COO
       know that we are encountering difficulties in resuming our statutory research obligations
       because of the functioning of the Research Environment, that we are cataloguing the
       difficulties, and that we will meet with them next week to explain our challenges so they can
       help us resolve them.
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I know this leaves a lot of questions unanswered, but I hope it gives you a sense of where
we are. Please stay in communication with your supervisor so we can try to give you the
direction you need.
Jason Brown
Assistant Director, Research
Consumer Financial Protection Bureau
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          Exhibit R
          Case 1:25-cv-00381-ABJ                      Document 60-1                Filed 03/05/25              Page 44 of 107


  From:~I
Subject: ~orl<
  Date: February28, 202s at 10:37AM
    To:                                                , McNamara,John (CFPB)




      -
      Yes, John will likely be reaching out to you shortly. -has    decided to retire so we need to figure out who is available to continue the
      work in his absence. I would assume that you will handle the FDCPA report but let's wait to hear from John.
      Hope you are doing ok.



      From:
      Sent: Friday, February 28, 2025 10:33:38 AM
      To: McNamara, John (CFPB)
      Cc:
      Subject: Statutorily Mandated Work
      Hello,

      The other offices in RMR have received notification from their management that Adam
      Martinez changed his guidance and we are now allowed to work on statutorily mandated
      work. Will you be providing an update to Markets staff?

      If statutorily required work is going forward, I would like to know if I will continue to work on
      the Card Report and FDCPA report.




      -Best,




                            vst I Consumer Credit, Payments, and Deposits Markets


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  From: McNamara, John (CFPB)
Subject: FW: Statutory/Legal Required Work
   Date: February 28, 2025 at 11:20 AM
     To:


       See below from Adam Martinez. This is for your awareness, and I ask
       that you let your manager and me know of any statutorily required
       work.

       We have data collections and CARD Act for our Credit Card Team and
       the FDCPA Annual Report for our Debt Collections Team.

       More broadly we have market monitoring for all Markets teams.

       I have an email in to Adam Martinez letting him know that I plan to
       recommence work on all areas. I also have a question about what
       types of communications Mark Paoletta and Daniel Shapiro wish to be
       copied. I told Adam that I assumed they would only want to be copied
       on substantive matters and be made aware of meetings Markets was
       having with external stakeholders.

       This email is for your awareness. Stay tuned for more guidance.

       John McNamara
       Assistant Director, Consumer Credit, Payments, and Deposits Markets
       Division of Research, Monitoring & Regulations

       Consumer Financial Protection Bureau
       1700 G Street NW
       Washington, DC 20552
       Office
       Mobile




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       From: Martinez, Adam (CFPB)
       Sent: Thursday, February 27, 2025 4:18 PM
       To: Pappalardo, Janis (CFPB) <                             ; Sokolov, Dan (CFPB)
                                ; Epstein, Ann (CFPB)                          ; Hedgespeth,
       Grady (CFPB)                                 ; Brown, Jason (CFPB)
                                  McArdle Mark (CFPB)                               McNamara
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                                          '-'1   I   '-'/                              IVl\.11   "4Q.I   I ICU   a,
                                           Brown
                                          FPB)<
                                              ; Rice, Jim
                         ; Dodd-Ramirez, Daniel (CFPB)
Subject: Statutory/Legal Required Work

Hi RMR Colleagues - Good afternoon.

Thank you for your patience as we continue through transition and our new
leadership's review of the Bureau.

On February 8 (email attached), our Acting Director outlined several areas where
work stoppage was being implemented at the Bureau. He did exclude areas
approved by him or required by law. We want to ensure that you are aware that
statutorily required work and/or work required by law are authorized.

Your teams are authorized to continue carrying out these responsibilities. Any
actions or communications with outside parties must be sent to Mark Paoletta,
Chief Legal Officer and Daniel Shapiro, Deputy Chief Legal Officer.

Should you have any questions at all, please feel free to contact our Chief Legal
Officer as directed by the Acting Director. Alternatively, you are always welcome to
reach out to me if needed. I am happy to share guidance provided to other leaders
and employees regarding authorized work, including my own team.

Thank you for your support.

Adam

Adam Ma1tinez
Chief Operating Officer



    Mail Attachment.em!
    14 KB                        ■
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  From: McNamara, John (CFPB)
Subject: RE: Statutorily Mandated Work
   Date: February 28, 2025 at 2:11 PM
     To:
    Cc:


       Thanks for asking. Wait for guidance. I am waiting for a response from
       Adam Martinez.



       John McNamara
       Assistant Director, Consumer Credit, Payments, and Deposits Markets
       Division of Research, Monitoring & Regulations

       Consumer Financial Protection Bureau
       1700 G Street NW
       Washington, DC 20552
       Office-
       Mobile-




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       From:
       Sent: Friday, February 28, 2025 1:54 PM
       To: McNamara, John (CFPB)
       Cc:
       Subject: Re: Statutorily Mandated Work

       To clarify, should I get started or wait for guidance?

       From: McNamara, John (CFPB) <
       Sent: Friday, February 28, 2025 10:57 AM
       To:
       Cc:
       Subject: RE: Statutorily Mandated Work

       Stay tuned for guidance. As I see it, the FDCPA Annual Report is
       statutorily mandated work, and I would like to get started on it.
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John McNamara
Assistant Director, Consumer Credit, Payments, and Deposits Markets
Division of Research, Monitoring & Regulations

Consumer Financial Protection Bureau
1700 G Street NW
Washington, DC 20552
Office
Mobile




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From:
Sent: Friday, February 28, 2025 10:34 AM
To: McNamara, John (CFPB)
Cc:
Subject:

Hello,

The other offices in RMR have received notification from their management that Adam
Martinez changed his guidance and we are now allowed to work on statutorily mandated
work. Will you be providing an update to Markets staff?

If statutorily required work is going forward, I would like to know if I will continue to work on
the Card Report and FDCPA report.




******

                         onsumer Credit, Payments, and Deposits Markets


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           Exhibit S
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          Exhibit T
             Case 1:25-cv-00381-ABJ                 Document 60-1   Filed 03/05/25   Page 52 of 107




------------------
-
From: Coleman, CC (CFPB)
Sent: Saturday, March 1, 2025 7:46 AM
To:                                                                                              ;-

                               (CFPB) shared "OFP Statutory Requirements" with you


Please add the statute, regulation, clause, etc. that's the authority for the process-requirement you're
reporting.
Regards, C

From: Coleman, CC (CFPB)
Sent: Friday, February 28, 2
To:
                                          '
                                              >·I
                               (CFPB) shared "OFP Statutory Requirements" with you

Hi team. Please separately send me your processes that are required by statute, regulation, or
something else (new add).-        said the spreadsheet is for OFP managers only. Need by noon Tuesday
please so I can consolidate for COB Tuesday.
Thanks!C

From: Coleman, CC (CFPB)
Sent: Friday, February 28, 2
To:                                                                                              ;-

                               (CFPB) shared "OFP Statutory Requirements" with you

Team, please let me mow if you can't access the file. We need to add anything that we're responsible for
on our team that's required by statute or regulation, so certification, CPARs, etc.
Josh said it's due by Tuesday.
Thanks,C

From:                                                      >
Sent: Friday, February 28, 2025 9:24 AM
To: Ahmad, Rumana (CFPB)                                ; Braham, Regina (CFPB)
                              ; Coleman, CC (CFPB)                              ; Del Toro, Vanessa (CFPB)
                               >; Dunham, Tonya (CFPB)                             ; Galicki, Joshua (CFPB)
                            ; Gueye, Jafnar (CFPB)                          ; James, Dana (CFPB)
                         ; Olson, Nicholas (CFPB)                         ,>; Pichet, Laurent (CFPB)
                           >; Velez, Freddy (CFPB)
                           (CFPB) shared "OFP Statutory Requirements" with you




                                                             1
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                                 tB

                                               (CFPB) invited you to edit a file




                           Here's the docwnent that                 (CFPB) shared with you.




                         OFP StatutoryRequirements




            [J This invite will only work for you and people with existing access.




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 CFPB.




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          Exhibit U
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  From: (null)
Subject: FW: All Hands Message re: Work Required by Law
   Date: March 4, 2025 at 3:52 PM
     To:


       From: Schroeder, John (CFPB) <
       Sent: Monday, March 3, 2025 10:13 AM
       To: _DL_CFPB_Examiners Midwest <                                                                     >
       Subject: FW: All Hands Message re: Work Required by Law

       Casey and Calvin are seeking clarity from new agency leadership re the below email, and
       will pass along direction as soon as they can receive it. In the meantime please refrain from
       all work activity other than ministerial tasks as previously approved by Adam Martinez.

       I apologize for the continued confusion being caused by multiple misleading and
       inconsistent email. Please stand by for additional direction from SPV leadership. Thank
       you.


       John J. Schroeder
       Regional Director – Midwest Region
       Supervision, Enforcement and Fair Lending
       Consumer Financial Protection Bureau

       230 South Dearborn Street, Suite 1590
       Chicago, IL 60604
       Mob:
       consumerfinance.gov
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       this transmittal. Your cooperation is appreciated.



       From: Martinez, Adam (CFPB)
       Sent: Sunday, March 02, 2025 3:33 PM
       Cc: Paoletta, Mark (CFPB)
       Subject: All Hands Message re: Work Required by Law

       Message from Mark Paoletta, Chief Legal Officer

       On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying
       out any statutorily required work, as he set forth in his February 8th email.

       On February 8, 2025, you received an email from Acting Director Vought directing you to
       halt several classes of work unless “required by law” or expressly approved by the Acting
       Director. On February 10, 2025, you received an email from Acting Director Vought
       directing you to reach out to me for the authorization required by the February 8 email.
       These measures were intended to ensure that new leadership could establish operational
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control over the agency while ensuring that it would continue to fulfill its statutory duties.
Many of you understood this and continued to perform functions required by law and
sought approval from me to perform work, which I have promptly granted.

It has come to my attention, however, that some employees have not been performing
statutorily required work. Let me be clear: Employees should be performing work that is
required by law and do not need to seek prior approval to do so. If you have any questions,
please reach out to me immediately, and I will promptly give you an answer and
authorization if warranted. If you are aware of other employees that are needed to assist
you in performing a statutorily required task but are not doing so, please raise this with me
immediately.

Thank you for your attention to this matter.

Mark Paoletta
Chief Legal Officer
CFPB


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          Exhibit V
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----------------
From: Sellers, Katelyn (CFPB)
Sent: Monday, March 3, 2025 8:45 AM
To:


Subject: FW: follow-up on Qs about informal guidance to entities

Hi Team,

FYSA on the note below to Casey. I will let you know what I hear back. In the meantime, please continue to
comply with the stop work order and stand by for further instruction from me regarding whether you should engage
in any ILSA or NMLS work. Thank you!

Katelyn

Katelyn Sellers




    -
Program Director, Systems & Registrations
Office of Supervision Examinations
(m)


From: Sellers, Katelyn (CFPB)
Sent: Monday, March 3, 2025 8:42 AM
To: Huggins, Cassandra (CFPB)                                >
Subject: RE: follow-up on Qs about informal guidance to entities

Hi Casey,
Pursuant to Adam Martinez’s email yesterday, 3/2/25 regarding performing statutorily mandated work, I am
resurfacing the email below to inquire as to whether we ever got any response from leadership. As you know, the
SES items below are only “mandated” to the extent that exams are being performed and require technical support
and tools. And I believe NBR would also be in the category of “supervision” class of activities that are under the
stop work order.

However, the NMLS and ILSA items are not related to whether exams/supervision activities are occurring, and they
are required by statute (Secure and Fair Enforcement for Mortgage Licensing [SAFE] Act and Interstate Land Sales
Disclosure Act, respectively).

My team is standing by and is ready to resume minimally required work on these programs if authorized. Please
note that a routine (daily) part of running these two programs requires external stakeholder engagement (with
registrants, CSBS/NMLS, contractors, etc.), and we are unsure whether each instance of external outreach would
need to be authorized.

Thank you,
Katelyn

Katelyn Sellers




    -
Program Director, Systems & Registrations
Office of Supervision Examinations
(m)

                                                           1
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From: Sellers, Katelyn (CFPB)
Sent: Wednesday, February 5, 2025 4:10 PM
To: Huggins, Cassandra (CFPB)                               >
Cc: Bleicken, David (CFPB) <                       >
Subject: FW: follow-up on Qs about informal guidance to entities

Hi Casey,

This might be more than was being asked for, but the systems/programs are somewhat diﬀerent, so I’m breaking the
examples out program by program:

Supervision Examina on System (SES)
    The most common ques ons the SES team receives from external par es are centered around the Supervision
       Portal, which is the secure portal Supervision uses for the En es to respond to requests from the Exam teams.
       Examples:
            o I forgot my password, can you reset it?
            o I got a new phone and the MFA no longer works, can you ﬁx it?
            o I am having trouble logging into the portal, can you help?
    Impact: If we do not answer these ques ons/provide this support over email, the En ty user would not be able
       to log into the CFPB Supervision Portal and provide informa on to the Exam teams, which would stop exams
       from moving forward.

Nonbank Registry (NBR)
    Example ques ons:
          o I am unable login to my NBR account (i.e., password/mul -factor authen ca on (MFA) errors or I need
               change my email address). Can CFPB help?
                    If we don’t respond, user is not able to access their NBR account and cannot comply with the
                        NBR rule (i.e. cannot submit or update their required ﬁling)
          o I entered an incorrect value in the company’s iden fying informa on (e.g., typo in NMLS ID). Can CFPB
               correct it?
                    If we don’t respond, Company’s unique iden fying informa on remains incorrect in the
                        Nonbank Registry and leads to data quality issues in CFPB use of the iden fying data to support
                        the Supervision program.
          o I can’t access my company’s CFPB Consumer Response account, how do I reply to a complaint I received
               from the CFPB on behalf of a consumer?
                    If we don’t respond, Company representa ve does not learn the correct way to respond to a
                        complaint, and their customer who originally submi ed the complaint does not get a response
                        through CFPB’s complaint system.
    Holding scheduled external mee ngs styled as “oﬃce hours” to provide guidance and updates for Nonbank
      Registry
          o During these mee ngs with state regulators, state a orneys general, and Tribal Governments, the NBR
               team provides updates on NBR metrics (e.g., number of registered companies, number of registered
               orders), solicits input of “data sharing and data use” ideas from a endees, and talks about steps toward
               poten al publica on in the future.
                    If we don’t hold these mee ngs, work may slow down on the implementa on of the NBR rule,
                        including poten al publica on.

Interstate Land Sales Act (ILSA)
Example ques ons from developers trying to comply with ILSA/Regula on J:
     I usually get an email from CFPB conﬁrming my submission (i.e., 1) register lots to sell in a new subdivision, 2)
        add lots to sell in an exis ng registered subdivision, and/or 3) amend informa on regarding lots to sell in an

                                                            2
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        exis ng registered subdivision) – did CFPB receive my submission and/or is there any addi onal informa on I’m
        required to submit?
            o If we don’t respond, developer may reach out to other CFPB oﬃces or poli cal representa ves because
                they have not received communica on from the CFPB ILSA oﬃce.

       What is the ILSA # CFPB is assigning to my subdivision?
          o If we don’t respond, the Property Report may be noncompliant with ILSA/Regula on J and/or the
                purchaser/consumer does not receive informa on on the Property Report as required by
                ILSA/Regula on J.

       What is the eﬀec ve date of the Property Report we are required to provide to purchasers so that we may sell
        the lots?
            o If we don’t respond:
                     Developer may lose income because they are not sure if they can legally sell the lots in the
                       subdivision due to poten al non-compliance with the ILSA/Regula on J.
                     Purchasers may not receive the Property Report required by the ILSA/Regula on J or one that
                       appears to be noncompliant; this could result in a developer being sued by a purchaser due to
                       the Property Report not being properly ﬁled with the CFPB.

Na onwide Mul state Licensing System and Registry (NMLS)
To eﬀec vely oversee the contract between the CFPB and the NMLS’s State Regulatory Registry, LLC (SRR), our oﬃce has
taken a proac ve approach to communica ng with the SRR during the Background Inves ga on Process for new and
renewal of ~177 contractors (in a constant state of onboarding/o oarding). In our emails, we communicate such
things as: conﬁrm the receipt of a request of a background check, ask for more informa on to complete a background
check, provide status updates on certain individuals, conﬁrm temporary authoriza on to work, and conﬁrm ﬁnal
approval of a person being thoroughly ve ed so they may con nue work on the system.
         If we no longer communicate the items above:
                o SRR’s overall ability to perform under its contract with CFPB could be nega vely impacted.
                o SRR may reach out to other CFPB oﬃces in confusion and/or may complain that CFPB is no longer
                    providing informa on on the process.
                o SRR could be unaware that informa on is missing and the background inves ga on process is
                    paused/individuals would be able to work on the system as needed by CFPB
                o Informa on required to complete the background inves ga on remains incomplete and/or the
                    background inves ga on may me out and require re-ini a on of process.

Katelyn Sellers




    -
Program Director, Systems & Registrations
Office of Supervision Examinations
(m)


From: Huggins, Cassandra (CFPB)
Sent: Wednesday, February 5, 2025 11:25 AM
To: Sellers, Katelyn (CFPB)                         >; Bleicken, David (CFPB)                            >
Subject: follow-up on Qs about informal guidance to entities
Importance: High

Hi Katelyn- We had submi ed the ques on the other day about whether we could provide certain types of informal
guidance to en es. Legal is going to run this ques on up to the Ac ng Director, but wants some examples of the types
of ques ons that typically fall into these categories and the impact if the Bureau does not respond to it. Would you/your
team be able to put that together? It’s a ght turn-around- would need it by the end of today.



                                                            3
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         Answering ques ons from supervised en es to provide user support for Supervision Examina on System,
          Nonbank Registry, Na onwide Mul state Licensing System (NMLS), and Interstate Land Sales Act (ILSA)
          programs
         Holding scheduled external mee ngs styled as “oﬃce hours” to provide guidance and updates for Nonbank
          Registry

Thanks,
Casey


Cassandra Huggins

Mobile:
          -
Principal Deputy Assistant Director | Supervision Policy & Operations



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        Exhibit W
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From: Huggins, Cassandra (CFPB) <                                          >

To: _DL_CFPB_Supervision_ALL
Subject: FW: All Hands Message r


Supervision staff,



Calvin and I know that there is quite a bit of confusion surrounding the message we received from Adam Martinez/Mark
Paoletta on March 2. We have requested and received clarification that their messagewas not Intendedto authorize
the reinstatementof supervision/examination     activity,even though the BureauIs requiredby law to carry out
these activities.We are also not to resume any functions that support the supervision/examination program, and are not
to communicate with parties outside of the Bureau on Bureau matters without receiving approval from the Chief Legal
Officer.



It has been communicated to me that Supervisionstaff should continueto operate on administrativeleave as
directed by the Acting Directorunlessyou have receivedexpress permissionto work on a task. In general, this
permission will come from Calvin, me, or your supervisor. Please do not work on anything else without authorization. If
you have a question about whether you've been authorized to perform a task, please reach out to your supervisor. As a
reminder, staff have been given permission to conduct some administrative tasks such as validating/certifying timecards in
Web TAand submitting/approving vouchers in Concur. Some staff have also been authorized to work on discrete tasks
and may continue to work on those as directed.



OSPO managers- if your teams are responsible for carrying out any other statutorily-mandated activities and you aren't
sure whether they fall under the broader umbrella of supervisory or examination activity or activities that support this
function, please send me an email with the activity and the specific statutory language that requires it, and I will send a
request to the Chief Legal Officer.



Thanks,

Casey




Cassandra Huggins

Plincipal Deputy Assistant Director I Supervision Policy & Operations

Mobile

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From: Martinez, Adam (CFPB)
Sent: Sunday, March 2, 2025 3:33 PM
Cc: Paoletta, Mark (CFPB)
Subject: All Hands Message re: Work Required by Law



Message from Mark Paoletta, Chief Legal Officer



On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any
statutorily required work, as he set forth in his February 8th email.


On February 8, 2025, you received an email from Acting Director Vought directing you to halt several
classes of work unless “required by law” or expressly approved by the Acting Director. On February 10,
2025, you received an email from Acting Director Vought directing you to reach out to me for the
authorization required by the February 8 email. These measures were intended to ensure that new
leadership could establish operational control over the agency while ensuring that it would continue to fulfill
its statutory duties. Many of you understood this and continued to perform functions required by law and
sought approval from me to perform work, which I have promptly granted.


It has come to my attention, however, that some employees have not been performing statutorily required
work. Let me be clear: Employees should be performing work that is required by law and do not need to
seek prior approval to do so. If you have any questions, please reach out to me immediately, and I will
promptly give you an answer and authorization if warranted. If you are aware of other employees that are
needed to assist you in performing a statutorily required task but are not doing so, please raise this with me
immediately.


Thank you for your attention to this matter.



Mark Paoletta

Chief Legal Officer

CFPB
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          Exhibit X
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             Gueye, Jafnar (CFPB)                             11:39AM
             To Chilbert, Christopher (CFPB), +14

                                                                       r::i_,.




   Thanks Chris,


   To add to that, we're getting a lot of requests to turn contracts
   back on. I will send out guidance shortly but for your awareness
   we are not turning back on every contract we,ve had. We're
   taking a very narrow approach: if without the contract the
   Bureau can't meet a statutory requirement then it will be
   considered for reactivation. Meaning that a contract enhancing
   our ability to meet a statutory requirement is not enough to get it
   back on. It needs to be the only way the bureau can currently
   meet that requirement.
   Also as you're providing justifications please be prepared to have /
   to defend those to external parties. We've been routi¥lY asked
   to provide for names of the people providing the justification.


   Respectfully,


   ,Jafnar
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          Exhibit Y
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  From: (null)
Subject:
   Date: March 4, 2025 at 9:57 AM
     To:


       From: Brown, Jason (CFPB) <                             >
       Sent: Monday, March 3, 2025 6:07 PM
       To: _DL_CFPB_OR <
       Subject: updates

       Hi OR,

       Just wanted to give you a status update.

       Jan submitted a proposal to Mark Paoletta outlining how RMR would comply with the
       directive to resume statutory responsibilities. She proposed that:
            • RMR would bring nearly everyone back to work, because nearly all of RMR
              engages in statutorily required work. Given that research responsibilities are well
              documented in Dodd-Frank and all of the research work we do is linked to fulfilling
              Dodd-Frank’s requirements, this would mean that anyone who could support the
              research functions of Dodd-Frank should return to work. This is consistent with
              what I shared last Friday.
            • Communications within the federal government, with contracted entities, and within
              the Federal Reserve system that help us fulfill our statutory responsibilities will be
              pre-approved and not require involvement of the DFO.
            • Engagement with outside researchers and other parties to advance the Bureau’s
              research responsibilities would resume. This would include discussing research
              findings in meetings, workshops, and conferences with other government agencies,
              presenting research findings at academic conferences, and attending research
              conferences. She noted that we would follow usual Bureau procedures for
              authorizing and clearing any presentations and conference attendance and would
              inform him and Dan Shapiro prior to any presentation or attendance at a non-
              governmental conference.
            • Refreshing data on the Bureau website, specifically the CCT and Mortgage
              Performance Trends, will continue. We will await further guidance on Bureau-
              hosted publications.
            • Dissemination of research findings through the SSRN page and through academic
              journals would resume.

       Jan has not received a response yet. But I will pass it on as soon as I get it. In the
       meantime, please continue (or resume) fulfilling the non-public aspects of your work to
       the extent possible.

       There are questions on timecards. We expect further guidance on Thursday.

       I know that as we are resuming our work, we are confronting a few challenges, including:
            •Loss of personnel. The firing of much of our staff impacts our ability to complete
             assignments as planned. We are trying to make sure we have access to the files of
             the staff who have left. The OR management team also will be looking to reassign
             staff from work streams that have stopped. If you find you have capacity, please
             alert your chief. And if you need additional staff support for your projects, please
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       alert your chief.
   •   Loss of IT resources. Several contracts that have supported our work have been
       cancelled. We have seen some impairment in our ability to do our work, and in
       some cases we can’t tell if the struggles we’re facing are because of cancelled
       contracts or glitches, and the people who would ordinarily help us out have
       themselves been terminated. Many thanks to those who have been documenting
       your experiences and sharing workarounds. Kat has been running point on this.
       The CIO knows we’re having issues and once we get a full picture of the situation
       and the extent to which we cannot fulfill our responsibilities, we will share with him
       and work with him on how to fix it.
   •   Loss of data. Several of our data contracts have been cancelled. Also, because the
       IT systems have been in flux while data were being migrated (or even just stored),
       there is some question as to where some of the data and how to access them.
       Shaista will be working with the data stewards of each of our data assets to ensure
       that the data are accessible and complete.
   •   Loss of other tools to conduct research. These include the qualitative researcher
       contract and the lab contracts. We’re assessing how the loss of these other
       contracts affects our ability to fulfill our duties.

Thank you for your patience and cooperation as we try to sort all this out.

Finally, I know many of you submitted promising work to the Consumer Finance Round
Robin. Because of the uncertainty of our participation, the other agencies moved forward
without including papers that were authored only by CFPB researchers. Assuming we get
the go-ahead to continue engagements like the Round Robin, we are welcome to
nonetheless attend. We’re looking to plan an alternate Round Robin for our submissions
that didn’t make it on to the program.

Jason
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          Exhibit Z
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From:
To:
Subject:                  Han s Message re: Work Required by Law
Date:               Monday, March 3, 2025 5:29:52 PM




Per the authorization below,.       is looking into getting the CCDB back up and running. As part
of this work, we're also authorizing you and-        to help assess the state of things across
CCDB/CGGP/complaints products, identify people and resources that are remaining to
support these platforms, and understand the backlog in light of the new state of things.


I'm working with the other D+D leads to assess the state of work and resources more broadly,
as Adam mentioned in his email this afternoon. A read from you,.,        and-     of the
complaints portfolio will be invaluable as we figure out next steps. Reach out to me any time if
I can be of help, provide more guidance, etc.




•
Thanks,




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From:                                                                     >
Date: Monday, March 3, 2025 at 5:04 PM




Subject: FW: All Hands Message re: Work Required by Law

Hi Folks,

Below is the email thread I referenced regarding authorization to "shift any resources
needed to comply with the statute and any applicable laws/regulations"          as noted by
AdamM.




-
Best,




From:
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Date: Monday, March 3, 2025 at 10:21 AM
To:                                                 Chilbert, Christopher (CFPB)
<
Cc:                                                 >, Scott, Adam (CFPB)
                       >
Subject: RE: All Hands Message re: Work Required by Law

Minus Adam and Mark,

Irina please check with Steve once he comes online please let me know if anything is needed
from Infrastructure or other teams to address the issue.

Thanks,



-
Deputy Chief Information Officer | Technology & Innovation
Mobile:

Consumer Financial Protection Bureau
consumerfinance.gov

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the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.
From:                                                   >
Sent: Monday, March 3, 2025 10:11 AM
To: Martinez, Adam (CFPB)                               >; Chilbert, Christopher (CFPB)
                                >; Malik, Irfan (CFPB)                        >
Cc: Paoletta, Mark (CFPB)                            >; Sayre, Stephen (CFPB)
                          >; Scott, Adam (CFPB)                            >
Subject: Re: All Hands Message re: Work Required by Law




            -
Will do. Thanks.
Chris and        ,
All of the contractors are gone, am I correct?
The first issue I see is that EXT Jenkins is returning 502. That is where the pipelines run. I
wonder if it because some other service got shut down. I lack access privileges.




From: Martinez, Adam (CFPB)
Date: Monday, March 3, 2025 at 10:05 AM
                                                                -
would need to take a look to see if we can get it back up and I can try to take it from there.
I don’t know how to reach him though, would need              to reach out when he is back online.


                                                                              >

To:                                                                   >, Chilbert, Christopher (CFPB)
<                              >,                                                               >
Cc: Paoletta, Mark (CFPB) <                                            >,
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<                         , Scott, Adam (CFPB) <
Subject: RE: All Hands Message re: Work Required by Law

Hi
   -    . Please work with Chris and


Adam Martinez
Chief Operating Officer
                                         - to shift any resources needed to comply
with the statute and any applicable laws/regulations. Thank you.




From:
Sent: Monday, March 3, 2025 10:02 AM
To: Martinez, Adam (CFPB) <
Cc: Paoletta, Mark (CFPB) <                                                )
<                         >; Scott, Adam (CFPB) <                    >
Subject: Re: All Hands Message re: Work Required by Law


Hi Adam,
Based on every email starting 2/10 the unambiguous guidance was to stop all work
tasks, no stipulation of statue requirements was made.

As of today, Consumer Complaint Database(CCDB) has not had been refreshed with
new data since 02/22/2025 and displays an eror banner:
https://www.consumerfinance.gov/data-research/consumer-complaints/search/?
chartType=line&dateInterval=Month&dateRange=3y&date received max=2025-02-
21&date_received_min=2022-02-
21&lens=Product&searchField=all&subLens=sub product&tab=Trends

Dodd Frank mandates:
The Consumer Financial Protection Bureau (CFPB) to maintain a public database
where consumer complaints against financial institutions are recorded and
published, ensuring transparency in the financial marketplace; this database is
commonly referred to as the "CFPB Consumer Complaint Database”.


I am seeking authorization to fix underlying issue with data pipelines which
load data for CCDB. Since the Data Products team lost all other developers
when all contracts were canceled, I am also seeking authorization to utilize
other member of D&D and EDA to assist as needed.

Thanks for your prompt attention,
   Case 1:25-cv-00381-ABJ           Document 60-1         Filed 03/05/25     Page 74 of 107




From: Martinez, Adam (CFPB) <Adam.Martinez@cfpb.gov>
Date: Sunday, March 2, 2025 at 3:33 PM
To:
Cc: Paoletta, Mark (CFPB) <
Subject: All Hands Message re: Work Required by Law

Message from Mark Paoletta, Chief Legal Officer

On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out
any statutorily required work, as he set forth in his February 8th email.

On February 8, 2025, you received an email from Acting Director Vought directing you to halt
several classes of work unless “required by law” or expressly approved by the Acting Director.
On February 10, 2025, you received an email from Acting Director Vought directing you to
reach out to me for the authorization required by the February 8 email. These measures were
intended to ensure that new leadership could establish operational control over the agency
while ensuring that it would continue to fulfill its statutory duties. Many of you understood this
and continued to perform functions required by law and sought approval from me to perform
work, which I have promptly granted.

It has come to my attention, however, that some employees have not been performing
statutorily required work. Let me be clear: Employees should be performing work that is
required by law and do not need to seek prior approval to do so. If you have any questions,
please reach out to me immediately, and I will promptly give you an answer and authorization
if warranted. If you are aware of other employees that are needed to assist you in performing a
statutorily required task but are not doing so, please raise this with me immediately.

Thank you for your attention to this matter.

Mark Paoletta
Chief Legal Officer
CFPB
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      Exhibit AA
                                              Case 1:25-cv-00381-ABJ                        Document 60-1                 Filed 03/05/25              Page 76 of 107




From: Lee, Scott (CFPB) <
Sent: Monday, March 3, 2025 1:52 PM
To: Chang, Jean (CFPB)                         >; Chilbert, Christopher (CFPB) <                                  >; Essene, Ren (CFPB) <                           >; Gueye, Jafnar (CFPB)
Martinez, Adam (CFPB) <A                         >; Michalosky, Martin (CFPB)                                   >
Cc: Jacob, Roland (CFPB)                           >; DiPalma, Nikki (CFPB)                                ; Switzer, Kristin (CFPB)                               James, Dana (CFPB)                             Galicki,
Joshua (CFPB)                             ; Nguyen, Hoan (CFPB) <                             >; Austin, Richard (CFPB)                                   Roth, Marianne (CFPB) <
Subject: Operations: Statutory Requirements



Hi all,



We have some updated guidance on a few items:

    1. Mandated Reports: Adam has approved (see attached) to work on all reports that fulfill a legal requirement. See below for a list of reports due through June. Please have your teams restart work on these items
       through the normal drafting, review with stakeholders, and clearance (Ops FO and Exec. Sec.). If there are items missing from this list, please let me know.
    2. Statutory Requirements: New guidance is instructing us to work on all statutory requirements for the Bureau. Our Ops work ties to this work (directly and indirectly). We are working (with Legal) to develop a
       framework on what is required and how Ops work is implicated.



We know there’s many questions around this – so we’re going to schedule a couple of meetings to ensure we’re all aligned on this.



Scott




     OFFICE            REPORT/PUBLICATION TITLE                   DESCRIPTION AND ACTION(S)                         LEGAL REQUIREMENT                       RECEIVING                FY25               DUE DATE
    OR TEAM                                                              REQUIRED                                                                           ORGANIZATION          PUBLICATION          STATUTORILY
                                                                                                                                                                                  DUE DATE(S)           REQUIRED


     OFP/CFO        Annual Performance Plan and Report,       The report describes the resources           Dodd-Frank §1017(a)(4)(A) - Director             FRB                     2/15/2025                 N
                    and Budget Overview (Managed by           needed to accomplish our goals and
                                                                                                           ----               ----------
                                                                                                           shall provide to the Director of the Office      OMB
                    OSPP)                                     measure our performance against our          of Management and Budget copies of the           Congress
                                                              strategic plan. Strategy owns this           financial operating plans and forecasts of
                                                              document. The document also includes         the Director, as prepared by the Director
                                                              a budget section which the OCFO is           in the ordinary course of the operations of
                                                              responsible for. Budget section fulfills     the Bureau. S.1016 also requires that a
                                                              statutory requirement of 1017(a)(4)(A)       justification of the budget request of the
                                                              financial operating plans and forecasts.     previous
                                                                                                            ---       year
                                                                                                                       ---------be provided with the
                                                                                                           semiannual report to Congress.
                                                                                                           ---------                        ---- (Note:
                                                                                                           there may be other requirements that
                                                                                                           govern the publication of strategic plans
                                                                                                           and performance information)

     OFP/CFO        DATA Act                                  Submission of reconciliations of financial   Public Law 113-101, dated May 9, 2014            USAspending.gov         2/15/2025                 N
                                                                                                                    ffi i i i “Di i
                                     Case 1:25-cv-00381-ABJ              Documentand60-1
                                              and procurement data that supports     the officialFiled     03/05/25
                                                                                                 title is “Digital                       Page 77 of 107
                                                   USASpending.gov                              Accountability and Transparency Act of
                                                                                                2014”


OFP/CFO     GTAS                                   Submission of monthly financial and          Chapter 4700 of the TFM entitled “Agency   OMB                 2/18/2025   N
                                                   budget execution data; fulfill statutory     Reporting Requirements for the Financial   Treasury
                                                   requirement of 1017(a)(4)(A) quarterly       Report of the United States Government”
                                                   reports of financial condition and results
                                                   of operations



  CRO       GAO-IG Act Reporting                   Annual report of external findings from      Good Accounting Obligation in              Congress            2/28/2025   N
                                                   GAO and OIG                                  Government Act (GAO-IG Act) (Public        GAO
                                                                                                Law 115-414)                               OIG



OFP/CFO     Quarterly Financial Reports (CFO       Budget execution by Budget Category,         Dodd-Frank § 1017?                         Public (published   2/28/2025   N
            Updates)                               Division, and largest obligations for each                                                on cfpb.gov)
                                                   quarter.



OFP/PROC    Service Contract Inventory             Presents an analysis on CFPB's service       FY 2010 Consolidated Appropriations Act-   OMB, MAX.GOV        2/28/2025   Y
                                                   contract inventory to determine if           Public Law 111-117 OMB memo, Dated
                                                   contract labor is used appropriately and     Dec 19, 2011
                                                   the mix of Federal employees and
                                                   contractors is balanced.


OFP/CFO     Annual Independent Performance Audit   Annual independent audit of the              12 USC § 5496a                             Public (published   2/28/2025   N
                                                   operations and budget of the Bureau.                                                    on cfpb.gov)
                                                   The purpose of this audit is to provide
                                                   objective analyses to improve program
                                                   performance and operations, reduce
                                                   costs, facilitate decision-making, and
                                                   contribute to public accountability


OFP/CFO     Quarterly Financial Reports (CFO       Budget execution by Budget Category,         Dodd-Frank § 1017?                         Public (published   2/28/2025   N
            Updates)                               Division, and largest obligations for each                                              on cfpb.gov)
                                                   quarter.




OFP/CFO     Quarterly Financial Reports (CFO       Budget execution by Budget Category,         Dodd-Frank § 1017?                         Public (published   2/28/2025   N
            Updates)                               Division, and largest obligations for each                                              on cfpb.gov)
                                                   quarter.


 OCDO       Federal Electronic Records and Email   Report to determine how federal              The Federal Records Act (44 U.S.C. 31)     NARA                3/15/2025   N
            Management Maturity Model Report       agencies manage electronic records.




Admin Ops   Records Management Self-               The goal of the self assessment is to        The Federal Records Act (44 U.S.C. 31)     NARA                3/15/2025   N
            Assessment                             determine whether federal agencies are
                                                   compliant with statutory and regulatory
                                                   records management requirements.
                                        Case 1:25-cv-00381-ABJ                    Document 60-1                Filed 03/05/25                Page 78 of 107

Admin Ops   Senior Agency Official of Records       Report documents how the Bureau is           The Federal Records Act (44 U.S.C. 31)        NARA            3/15/2025   N
            Management Report                       managing RIM activities and goals
                                                    established by NARA




OFP/CFO     GTAS                                    Submission of monthly financial and          Chapter 4700 of the TFM entitled “Agency      OMB             3/18/2025   N
                                                    budget execution data; fulfill statutory     Reporting Requirements for the Financial      Treasury
                                                    requirement of 1017(a)(4)(A) quarterly       Report of the United States Government”
                                                    reports of financial condition and results
                                                    of operations



OFP/CFO     Quarterly Transfer Requests             Letters requesting transfer of funds from    Dodd-Frank §------
                                                                                                 ------       1017(a)(1)                       FRB             3/20/2025   N
                                                    the Fed Reserve to CFPB                                                                    Congress




  CRO       OIG Semiannual Report                   OIG Federal Reserve provides                 P.L. 95-452                                   HFSC and BHUA   3/31/2025   Y
                                                    seminannual report of signigicant
                                                    activities, finds, and recommendations
                                                    during a six month period.


  OHC       Financial Literacy and Education Plan   OPM requires agency benefits                 Thrift Savings Plan Open Elections Act of     OPM             3/31/2025   N
            (for Bureau Employees)                  representatives to submit an annual          2004 (Public Law 108-469)
                                                    financial literacy and education plan for
                                                    agency employees.




  OHC       Student Loan Repayment Incentives       Agencies must submit an annual written       5 U.S.C. 5379(h)(1) and 5 CFR                 OPM             3/31/2025   Y
                                                    report to the U.S. Office of Personnel       537.110(b)
                                                    Management (OPM) on their use of
                                                    student loan repayments during the
                                                    previous calendar year (CY), as
                                                    required by 5 U.S.C. 5379(h).



 OCDO       Chief FOIA Officer Report               In accordance with the FOIA, each            The Freedom of Information Act (FOIA), 5      DOJ             3/31/2025   Y
                                                    agency Chief FOIA Officer must “review       U.S.C § 552(j)(2)(D).
                                                    and report to the Attorney General,
                                                    through the head of the agency, at such
                                                    times and in such formats as the
                                                    Attorney General may direct, on the
                                                    agency’s performance in implementing
                                                    [the FOIA].


  OHC       Annual Data Call for Pathways           Under Section 6 of Executive Order           5 CFR 362.109                                 OPM             4/1/2025    Y
            Programs and Early Career Talent        14035: Diversity, Equity, Inclusion, and
            Hiring Reporting                        Accessibility in the Federal Workforce,
                                                    the Biden-Harris Administration directs
                                        Case 1:25-cv-00381-ABJ               Document 60-1
                                                 agencies to increase availability of paid
                                                                                                                 Filed 03/05/25             Page 79 of 107
                                                      internships, fellowships, apprenticeships,
                                                      and other early career programs.


  OHC       Telework Data Call                        Participation in this annual survey is a     Telework Enhancement Act of 2010,          OPM                           N
                                                      requirement under the Telework               Public Law 111-292
                                                      Enhancement Act of 2010, Public Law
                                                      111-292 (the Act and is reported by OPM                                                                   4/10/2025
                                                      to Congress. The questions in this
                                                      survey ask for information about
                                                      agencies’ telework program.


OFP/CFO     GTAS                                      Submission of monthly financial and          Chapter 4700 of the TFM entitled “Agency   OMB               4/18/2025   N
                                                      budget execution data; fulfill statutory     Reporting Requirements for the Financial   Treasury
                                                      requirement of 1017(a)(4)(A) quarterly       Report of the United States Government”
                                                      reports of financial condition and results
                                                      of operations


   T&I      Fiscal Year 20XX-20XX Guidance on         FY XX Q1 - Q3 Reporting via                  FY24 FISMA Guidance is not yet released.         DHS         4/18/2025   Y
            Federal Information Security and          Cyberscope.                                                                                   OMB
            Privacy Management Requirements -                                                      OMB M-23-03 - FY23 (MEMORANDUM
            EO14028 Metrics (Q1 & Q3) & Chief                                                      FOR THE HEADS OF EXECUTIVE
            Information Officer Metrics (Q2)                                                       DEPARTMENTS AND AGENCIES)


   T&I      Strengthening the Cybersecurity of        FY2X HVA list report on a quarterly basis    OMB M-19-03                                      DHS         4/18/2025   Y
            Federal Agencies by Enhancing the         and provide updates and modifications
            High Value Asset Program                  via Homeland Security Information
                                                      Network (HSIN)


   T&I      Improving Vulnerability Identification,   BOD 20-01 Vulnerability Disclosure           OMB-M-20-32                                      DHS         4/18/2025   Y
            Management, and Remediation               Policy reporting via Cyberscope


Admin Ops   Quarterly FOIA Report                     In accordance with the FOIA, the             5 U.S.C. § 552(e)(5), (j)(2)(D)            DOJ               4/25/2025   Y
                                                      Department of Justice requires agencies
                                                      to provide quarterly reporting of four key
                                                      FOIA statistics so that they can be
                                                      posted on FOIA.gov.




   T&I      Migrating to Post-Quantum                 By May 4, 2023, and annually thereafter      M-23-02                                          DHS         5/3/2025    Y
            Cryptography (Inventory)                  until 2035, or as directed by superseding                                                     OMB
                                                      guidance, agencies are directed to
                                                      submit a prioritized inventory of
                                                      information systems and assets,
                                                      excluding national security systems, that
                                                      contain CRQC-vulnerable cryptographic
                                                      systems to ONCD and the Department
                                                      of Homeland Security Cybersecurity and
                                                      Infrastructure Security Agency (CISA)

OFP/CFO     DATA Act                                  Submission of reconciliations of financial   Public Law 113-101, dated May 9, 2014      USAspending.gov   5/15/2025   N
                                                      and procurement data that supports           and the official title is “Digital
                                                      USASpending.gov                              Accountability and Transparency Act of
                                                                                                   2014”
                                     Case 1:25-cv-00381-ABJ                      Document 60-1                 Filed 03/05/25           Page 80 of 107
OFP/CFO   GTAS                                     Submission of monthly financial and           Chapter 4700 of the TFM entitled “Agency   OMB                 5/18/2025   N
                                                   budget execution data; fulfill statutory      Reporting Requirements for the Financial   Treasury
                                                   requirement of 1017(a)(4)(A) quarterly        Report of the United States Government”
                                                   reports of financial condition and results
                                                   of operations


OFP/CFO   Quarterly Financial Reports (CFO         Budget execution by Budget Category,          Dodd-Frank § 1017?                         Public (published   5/30/2025   N
          Updates)                                 Division, and largest obligations for each                                                 on cfpb.gov)
                                                   quarter.



OFP/CFO   Quarterly Financial Reports (CFO         Budget execution by Budget Category,          Dodd-Frank § 1017?                         Public (published   5/30/2025   N
          Updates)                                 Division, and largest obligations for each                                               on cfpb.gov)
                                                   quarter.


OFP/CFO   Quarterly Financial Reports (CFO         Budget execution by Budget Category,          Dodd-Frank § 1017?                         Public (published   5/30/2025   N
          Updates)                                 Division, and largest obligations for each                                               on cfpb.gov)
                                                   quarter.


 OCDO     Financial Stability Oversight Council    The Interagency Data Inventory is a           Dodd-Frank Wall Street Reform and          FSOC                5/31/2025   N
          (FSOC) Data Inventory                    product of the Data Committee of the          Consumer Protection Act of 2010
                                                   Financial Stability Oversight Council
                                                   (FSOC). The inventory catalogs the data
                                                   collected by FSOC member
                                                   organizations. The inventory contains
                                                   information — metadata — about each
                                                   data collection. It does not contain the
                                                   underlying datasets. For each data
                                                   collection, the inventory has basic
                                                   information, such as a brief description
                                                   of the collection, collecting organization,
                                                   and the name and number of the form
                                                   used to collect the data.


OFP/CFO   Semiannual Report of Payments            As required by the statute, the Bureau        31 U.S.C. 1353                             OGE                 5/31/2025   Y
          Accepted from a Non-Federal Source       must submit to the Director of the Office
                                                   of Government Ethics reports of
                                                   payments of more than $250 accepted
                                                   from non-Federal sources for travel,
                                                   subsistence, and related expenses with
                                                   respect to an employee’s attendance at
                                                   any meeting or similar function relating
                                                   to the official duties of the employee.


  T&I     Migrating to Post-Quantum                By June 4, 2023, and annually thereafter      M-23-02                                           DHS          6/4/2025    Y
          Cryptography (Funding Estimates)         until 2035, or as directed by superseding                                                       OMB
                                                   guidance, agencies are required to
                                                   submit to ONCD and OMB an
                                                   assessment of the funding required to
                                                   migrate information systems and assets
                                                   inventoried under this memorandum to
                                                   post-quantum cryptography during the
                                                   following fiscal year.


  T&I     Update to Memorandum M-22-18,            Agencies must submit metrics on               OMB M-23-16                                       OMB          6/9/2025    Y
          Enhancing the Security of the Software   collected attestation letters for all
          Supply Chain through Secure Software     software subject to the requirements of
          Development Practices                    M 22 18 as amended by this
                     Development Practices        Case 1:25-cv-00381-ABJ
                                                           M-22-18, as amended by thisDocument 60-1                     Filed 03/05/25                 Page 81 of 107
                                                             memorandum., as well as the on agency
                                                             approval of POA&Ms AND number of
                                                             extensions and waivers in place at each
                                                             agency.


    OFP/CFO          GTAS                                    Submission of monthly financial and          Chapter 4700 of the TFM entitled “Agency       OMB            6/18/2025   N
                                                             budget execution data; fulfill statutory     Reporting Requirements for the Financial       Treasury
                                                             requirement of 1017(a)(4)(A) quarterly       Report of the United States Government”
                                                             reports of financial condition and results
                                                             of operations


    OFP/CFO          Quarterly Transfer Requests             Letters requesting transfer of funds from    Dodd-Frank §----·-
                                                                                                          ------       1017(a)(1)                        FRB            6/20/2025   N
                                                             the Fed Reserve to CFPB                                                                     Congress


   OFP/PROC          Federal Activities Inventory Report     The Inventory depicts the CFPB’s             Federal Activities Inventory Reform Act of     Congress,      6/30/2025   Y
                     (FAIR)                                  workforce by functions (or activities)       1998 (P.L. 105-270) and OMB Circular A-        OMB, MAX.GOV
                                                             performed by Bureau employees. The           76 - Competitive Sourcing
                                                             Inventory further breaks down these
                                                             activities into Inherently Governmental
                                                             (activities that can only be performed by
                                                             a Federal employee) and Commercial
                                                             (Activities that can be performed by
                                                             Federal or contract employees)
                                                             categories. The number of Full-Time
                                                             Equivalents (FTEs) is also displayed by
                                                             location.




Scott Lee

Senior Advisor to the Chief Operating Officer - Operations

Consumer Financial Protection Bureau (CFPB)
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      Exhibit BB
    Case 1:25-cv-00381-ABJ          Document 60-1   Filed 03/05/25   Page 83 of 107

From: "Tabitha L. Bond"
Date: March 4, 2025 at 7:50:37 AM EST
To:
Subject:SFSOattached
Reply-To:




   New ZixCorp secure email message



     Open Message



 To view the secure message, click Open Message.

 The secure message expires on May 03, 2025 @ 11:50 AM (GMT).

 Do not reply to this notification message; this message was auto-generated by the
 sender's security system. To reply to the sender, click Open Message.

  If clicking Open Message does not work, copy and paste the link below into your
  Internet browser address bar.



 Want to send and receive your secure messages transparently?
 Click here to learn more.
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      Exhibit BB
  Case 1:25-cv-00381-ABJ      Document 60-1     Filed 03/05/25    Page 85 of 107




 New ZixCorp secure email message



   Open Message



To view the secure message, click Open Message.

The secure message expires on May 03, 2025 @ 11:50 AM (GMT).

Do not reply to this notification message; this message was auto-generated by the
sender's security system. To reply to the sender, click Open Message.

If clicking Open Message does not work, copy and paste the link below into your
Internet browser address bar.



Want to send and receive your secure messages transparently?
Click here to learn more.
                       Case 1:25-cv-00381-ABJ                               Document 60-1               Filed 03/05/25                 Page 86 of 107
Standard Form 50
Rev 7/91
U.S. Office of Personnel Management                          NOTIFICATION OF PERSONNEL ACTION
FPM Supp. 2%-33, Subch. 4
                                                                                                                                                                       4. Effective Dale
                                                                                                                                                                       02-11-2025
 FIRST ACTION
 5-A. Code         5-B. Namre of Action                                                      6-A.Code           6-B. Namm of Action
 385               TERM DURING PROB/fRIAL PERIOD
 5~.Code           5-D. Legal Authority                                                      6~.Code            6-D. Legal Authority
 1AM               REG 315.804 EQ
 5-E. Code         5-F. Legal Authority                                                      6-E. Code          6-F. Legal Authority

 7. FROM: Position Title and Number                                                          15. TO: Position Title and Number




                                                                                            16. Pay Plan                                    19. Step or Rate   20. Total Salary            21. Pay Basis
                                                                                                                                                                 .00
                                                                                             20A. Basic Pay            20B. Locality Adj.           20C. Adj. Basic Pay           20D. Other Pay
                                                                                             .00                        .00                         .00                           .00
                                                                                             22. Name and Loca1ion of Position's Organization




                             3 - 10 Point/Disability        5 - 10 Point/Other
                             4 - 10 Point/Compensable       6 - 10 Point/Compensable/30%




                                                 llliiiliiilillDate         (Leave)



                                                            35. FLSA Calegory                36. Appropria1ion Code                                            37. Bargaining Unit SlalUs
                                                                     E-Exempl
                                                          •          N - Nonexempl

                                                         39. Duty Stalion

 40. Agency Da1a                41.                                   42.


 45. Remarks
 E.O. 14210 AND THE STOP WORK EMAIL FROM RUSS VOUGHT ENTITLED "ADDITIONAL
 DIRECTIVES ON BUREAU ACTIVITIES" DTD 2/10/2025.
 HEALTH BENEFITS COVERAGE IS EXTENDED FOR 31 DAYS DURING WHICH YOU ARE
 ELIGIBLE TO CONVERT TO INDIVIDUAL POLICY NONGROUP CONTRACT .


 FORWARDING ADDRESS
 LUMP-SUM PAYMENT TO BE MADE FOR ANY UNUSED ANNUAL LEA VE.




 46. Employing Department or Agency                                                          50. Signatun,/Authentica1ion and Title of Approving Official
 CONSUMER FINANCIAL PROTECTION BUR                                                           ELECTRONICALLY SIGNED BY:
                                                            49. Approval Dale                ADAM MARTINEZ
                                                            02-13-2025                       ACTING CHIEF HUMAN CAPITAL OFFICER
                                                                                                                                 Editions Prior to 7/91 Are Not Usable After 6/30/93
                                                                                                                                                             NSN 7540-01-333-6236
                                                                      1 - Employee Copy - Keep for Future Reference
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                    Case 1:25-cv-00381-ABJ
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                                          Document 60-1 Filed 03/05/25 Page 87 of 107
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-E(:.5ÿ(Fÿ56-5ÿ(.1$53E1ÿ)-+6ÿ7-AE1.5;ÿB61.ÿ561ÿ-)53(.ÿ3+ÿ.(5ÿ-.ÿ->-2/ÿ(2ÿ A61(-:22++ÿÿ11--2).6ÿÿ07ÿ-6A(ÿ:721+2ÿ31(-/)ÿ6ÿ7-Aÿ7123(/\ÿ-./ÿ56(+1ÿ>356ÿ<,ÿ(2ÿE(21ÿA1-2+ÿ1-2.ÿlÿ
4(.:+Cÿ4'()*ÿ<=ÿ+6(>+ÿA(:2ÿF(2E12ÿ5(5-'ÿ-..:-'ÿ+-'-2ACÿ-./ÿ4'()*ÿ=Dÿ+6(>+ÿ $ÿm(:2ÿ1-2.3.?+ÿ-./ÿ'1-J1ÿ+5-51E1.5ÿ(2ÿA(:2ÿ53E1ÿ-./ÿ-551./-.)1ÿ)-2/ÿ>3''ÿ
A(:2ÿ.1>ÿ5(5-'ÿ-..:-'ÿ+-'-2Aÿ84'()*ÿ=DGÿ7':+ÿ=DH9;ÿI61ÿ-E(:.5+ÿ3.ÿ4'()*+ÿ<=ÿ +6(>ÿ561ÿ2-51ÿ-5ÿ>63)6ÿA(:ÿ1-2.ÿ'1-J1ÿ-./ÿA(:2ÿ):221.5ÿ:.:+1/ÿ'1-J1ÿ
-./ÿ=Dÿ/(ÿ.(5ÿÿ3.)':/1ÿ-.Aÿ(.1$53E1ÿ)-+6ÿ7-AE1.5+ÿ8+:)6ÿ-+ÿ712F(2E-.)1ÿ 4-'-.)1;ÿ
->-2/+ÿ-./ÿ21)2:35E1.5ÿ(2ÿ21'()-53(.ÿ4(.:+1+9ÿ(2ÿ7-AE1.5+ÿ56-5ÿE-AÿJ-2Aÿ
F2(Eÿ(.1ÿ7-Aÿ7123(/ÿ5(ÿ561ÿ.1K5ÿ8+:)6ÿ-+ÿ(J1253E1ÿ7-A9Cÿ(2ÿ(5612ÿF(2E+ÿ(Fÿ
721E3:Eÿ7-A;ÿ                                                                    U ÿaVÿXÿnÿg ÿ
$ÿ&'()*ÿ=DLÿ3+ÿ561ÿ+)61/:'1/ÿ-E(:.5ÿF(2ÿA(:2ÿ?2-/1ÿ-./ÿ+517Cÿ3.)':/3.?ÿ-.Aÿ $ÿm(:2ÿ>(2*ÿ+)61/:'1ÿ3+ÿ1+5-4'3+61/ÿ4AÿA(:2ÿ+:712J3+(2;ÿ
+71)3-'ÿ+-'-2Aÿ2-51ÿA(:ÿ21)13J1;ÿM5ÿ/(1+ÿ.(5ÿ3.)':/1ÿ-.Aÿ'()-'35A$4-+1/ÿ7-A;ÿ $ÿLÿF:''$53E1ÿ1E7'(A11ÿ>(2*+ÿ(.ÿ-ÿ721-22-.?1/ÿ+)61/:'1/ÿ5(:2ÿ(Fÿ/:5Aÿ56-5ÿ3+ÿ
I63+ÿ2-51ÿ(Fÿ7-Aÿ+12J1+ÿ-+ÿ561ÿ4-+3+ÿF(2ÿ/1512E3.3.?ÿA(:2ÿ2-51ÿ(Fÿ7-Aÿ:7(.ÿ :+:-''AÿQDÿ6(:2+ÿ712ÿ>11*;ÿLÿ7-25$53E1ÿ1E7'(A11ÿ6-+ÿ-ÿ721-22-.?1/ÿ
72(E(53(.Cÿ)6-.?1ÿ5(ÿ-ÿ'(>12ÿ?2-/1Cÿ(2ÿ21-++3?.E1.5Cÿ-./ÿ3+ÿ:+1/ÿF(2ÿ7-Aÿ +)61/:'1/ÿ5(:2ÿ(Fÿ/:5Aÿ56-5ÿ3+ÿ:+:-''Aÿ415>11.ÿ<0ÿ-./ÿ[=ÿ6(:2+ÿ712ÿ>11*;ÿL.
2151.53(.ÿ7:27(+1+;ÿ
$ÿ&'()*ÿ=D&ÿ3+ÿ561ÿ-..:-'ÿ/(''-2ÿ-E(:.5ÿ(FÿA(:2ÿM.5123EÿN1(?2-763)ÿL/O:+5$ÿ 3>6   .512E3551.5ÿ1E7'(A11ÿ6-+ÿ.(ÿ721-22-.?1/ÿ+)61/:'1/ÿ5(:2ÿ(Fÿ/:5Aÿ-./ÿ>(2*+ÿ
                                                                                     1.ÿ.11/1/;ÿ
E1.5ÿ(2Cÿ41?3..3.?ÿ3.ÿ<PPQCÿA(:2ÿ'()-'35A$4-+1/ÿ)(E7-2-43'35Aÿ7-AE1.5;ÿ
$ÿ&'()*ÿ=DGÿ3+ÿA(:2ÿL/O:+51/ÿ&-+3)ÿR-ACÿ561ÿ5(5-'ÿ(Fÿ4'()*+ÿ=DLÿ-./ÿ=D&;ÿM5ÿ E(21''$ÿ5-3E1
                                                                                 $ÿY:        ÿ-./ÿ7-25$53E1ÿ1E7'(A11+ÿ>6(+1ÿ-77(3.5E1.5+ÿ-21ÿF(2ÿPDÿ/-A+ÿ(2ÿ
+12J12+ÿ-+ÿ561ÿ4-+3+ÿF(2ÿ)(E7:53.?ÿA(:2ÿ215321E1.5ÿ41.1F35+Cÿ'3F1ÿ3.+:2-.)1Cÿ .(5;ÿ +:-''Aÿ1'3?34'1ÿ5(ÿ1-2.ÿ-..:-'ÿ'1-J1\ÿ3.512E3551.5ÿ1E7'(A11+ÿ-21ÿ
                                                                                          21ÿ
                                                                                            :
721E3:Eÿ7-ACÿ-./ÿ+1J12-.)1ÿ7-A;ÿ
$ÿ&'()*ÿ=DHÿ3+ÿ561ÿ5(5-'ÿ/(''-2ÿ-E(:.5ÿ(Fÿ-.AÿS151.53(.ÿL''(>-.)1+CÿT:712$ÿ $56ÿT1  -.
                                                                                      -+(.-'ÿ1E7'(A11+ÿ>(2*ÿ(.ÿ-.ÿ-..:-''Aÿ21):223.?ÿ4-+3+ÿF(2ÿ7123(/+ÿ(Fÿ'1++
                                                                                      ÿ<=ÿE(.56+ÿ1-)6ÿA1-2\ÿ561AÿE-Aÿ6-J1ÿ-ÿF:''$53E1Cÿ-ÿ7-25$53E1Cÿ(2ÿ-.ÿ
J3+(2AÿH3FF121.53-'+Cÿ-./ÿT5-FF3.?ÿH3FF121.53-'+ÿ56-5ÿ-21ÿ'3+51/ÿ3.ÿ561ÿ21E-2*+ÿ 3.512E3
4'()*;ÿI61+1ÿ7-AE1.5+ÿ-21ÿE-/1ÿ3.ÿ561ÿ+-E1ÿE-..12ÿ-+ÿ4-+3)ÿ7-ACÿ4:5ÿ-21ÿ $ÿo.$)-55'1'ÿ1.E7    5ÿ+)61/:'1ÿ/:23.?ÿ56132ÿ>(2*ÿ+1-+(.;ÿ
                                                                                                    '(A11+ÿ>(2*ÿ/:23.?ÿ7123(/+ÿ(Fÿ61-JAÿ>(2*'(-/ÿ-./ÿ-21ÿ3.ÿ7-Aÿÿ
.(5ÿ-ÿ7-25ÿ(Fÿ4-+3)ÿ7-AÿF(2ÿ-.Aÿ7:27(+1+;ÿ                                       +5-5:+ÿF(2ÿ-ÿ5ÿ'1-+5ÿ0ÿE(.56+ÿ(Fÿ1-)6ÿA1-2\ÿ561AÿE-Aÿ6-J1ÿ135612ÿ-ÿF:''$53E1
                                                                                 (2ÿ-ÿ7-25$53E1ÿ+)61/:'1ÿ>61.ÿ561Aÿ-21ÿ3.ÿ7-Aÿ+5-5:+;ÿ
U ÿVWÿXÿ2ÿ
$ÿM/1.53F31+ÿ561ÿ.-5:21ÿ(FÿA(:2ÿ-77(3.5E1.5ÿ-./ÿ3+ÿ:+1/ÿ5(ÿ/1512E3.1ÿA(:2ÿ U ÿaaÿXÿ8Xÿpÿ8ÿU ÿ8ÿ8ÿ
23?65+ÿ/:23.?ÿ-ÿ21/:)53(.ÿ3.ÿF(2)1ÿ8SMY9;ÿI1.:21ÿ?2(:7+ÿ-21ÿ1K7'-3.1/ÿ3.ÿE(21ÿ $ÿM./3)-51+ÿ561ÿ.:E412ÿ(Fÿ6(:2+ÿ-ÿ7-25$53E1ÿ1E7'(A11+ÿ3+ÿ+)61/:'1/ÿ5(ÿ>(2*ÿ
/15-3'ÿ3.ÿ+:4)6-7512ÿ=0ÿ(FÿYRZÿT:77'1E1.5ÿ=P0$[[ÿ-./ÿSMYÿ3+ÿ1K7'-3.1/ÿ3.ÿ /:23.?ÿ-ÿ5>($>11*ÿ7-Aÿ7123(/;ÿ
YRZÿT:77'1E1.5ÿ[,<$<\ÿ4(56ÿ+6(:'/ÿ41ÿ-J-3'-4'1ÿF(2ÿ21J31>ÿ3.ÿA(:2ÿ712+(..1'
(FF3)1;ÿ                                                                         U ÿaWÿXÿ8 ÿ1ÿ
U ÿV]ÿXÿ^ ÿ8ÿÿ_3̀ÿ                                          $ÿM/1.53F31+ÿ561ÿ1E7'(AE1.5ÿ+A+51Eÿ:./12ÿ>63)6ÿA(:ÿ-21ÿ+12J3.?ÿ$ÿ561ÿÿ
$ÿM./3)-51+ÿ>615612ÿA(:ÿ6-J1ÿ721F121.)1ÿF(2ÿ21/:)53(.$3.$F(2)1ÿ7:27(+1+;ÿ        G(E715353J1ÿT12J3)1Cÿ561ÿcK)1751/ÿ+12J3)1Cÿ(2ÿ561ÿT1.3(2ÿcK1):53J1ÿ
                                                                                 T12J3)1ÿ8TcT9;ÿ
                                                                                 $ÿI61ÿ1E7'(AE1.5ÿ+A+51Eÿ/1512E3.1+ÿA(:2ÿ1'3?343'35Aÿ5(ÿE(J1ÿ5(ÿ(5612ÿO(4+ÿ3.
U ÿabÿXÿ_ÿ8ÿ                                                       561ÿY1/12-'ÿ+12J3)1CÿA(:2ÿ23?65+ÿ3.ÿ/3+)37'3.-2Aÿ-./ÿ-/J12+1ÿ-)53(.+Cÿ-./ÿ
$ÿYMGLÿ ÿ $T()3-'ÿT1):235AÿTA+51Eÿ                                               A(:2ÿ1'3?343'35AÿF(2ÿ211E7'(AE1.5ÿ3FÿA(:ÿ'1-J1ÿY1/12-'ÿ+12J3)1;ÿ
$ÿGTÿ ÿ $G3J3'ÿT12J3)1ÿS15321E1.5ÿTA+51Eÿ
$ÿGT$T71)ÿ            $G3J3'T12J3)1S15321E1.5TA+51EF(2'->1.F(2)1E1.5 U ÿaqÿXÿ̀9g#ÿ4rÿ
ÿ           ÿ         ÿ-./ÿF321F3?6512ÿ712+(..1'ÿ
$ÿYTÿ ÿ $Y(213?.ÿT12J3)1ÿS15321E1.5ÿ-./ÿH3+-43'35AÿTA+51Eÿ
                                                                                 $ÿcK1E75ÿ1E7'(A11+ÿ-21ÿ.(5ÿ)(J121/ÿ4Aÿ561ÿE3.3E:Eÿ>-?1ÿ-./ÿ(J1253E1ÿ
                                                                                 '->ÿ8561ÿY-32ÿs-4(2ÿT5-./-2/+ÿL)59\ÿ.(.1K1E75ÿ1E7'(A11+ÿÿ)(J121/;ÿ
$YcSTÿ ÿ $Y1/12-'ÿcE7'(A11+dÿS15321E1.5ÿTA+51Eÿ
$YcSTÿ                                                                           U ÿatÿXÿUrrÿuÿg ÿ
ÿS1+12J1ÿ
ÿI1)6ÿ ÿ $Y1/12-'ÿcE7'(A11+dÿS15321E1.5ÿTA+51EÿF(2ÿe-53(.-'ÿ $-ÿM)/5:1-.'5'3AF3ÿ1-+ÿE1       ÿ-ÿ4-2?-3.3.?ÿ:.35ÿ5(ÿ>63)6ÿA(:ÿ41'(.?\ÿ>615612ÿ(2ÿ.(5ÿA(:ÿ-21ÿ
                                                                                                   E412ÿ(Fÿ-ÿ'-4(2ÿ(2?-.3@-53(.;ÿG(/1ÿvwwwwvÿ3./3)-51+ÿA(:ÿ-21ÿ
ÿ           ÿ         ÿN:-2/ÿS1+12J1ÿI1)6.3)3-.+ÿ                                1 '3
                                                                                    ?34'1 ÿ
                                                                                          4 :5ÿ.  (  5ÿ3.ÿ-ÿ4-2?-3.3.?ÿ:.35\ÿ)(/1ÿvllllvÿ3./3)-51+ÿA(:ÿ-21ÿ3.1'3?34'1
$YcSTÿ                                                                           F( 2
                                                                                    ÿ3.)':+ 3
                                                                                            ( .  ÿ3.  ÿ-ÿ4-2?-3.3.?ÿ:.35;ÿ
ÿLIGÿ ÿ $Y1/12-'cE7'(A11+dS15321E1.5TA+51EF(2L32I2-FF3)
ÿ           ÿ         ÿG(.52(''12+ÿ
$YcSTÿ                                                                           U ÿaxÿÿayÿXÿiÿgÿ
ÿT71)ÿ ÿ $Y1/12-'ÿcE7'(A11+dÿS15321E1.5ÿTA+51EÿF(2ÿ'->ÿÿ                         $ÿM/1.53F31+ÿ561ÿ)35ACÿ)(:.5Aÿ-./ÿ+5-51ÿ(2ÿ561ÿ(J12+1-+ÿ'()-53(.Cÿ>6121ÿA(:ÿ
ÿ           ÿ         ÿ1.F(2)1E1.5ÿ-./ÿF321F3?6512ÿ712+(..1'ÿ                    -)5:-''Aÿ>(2*;ÿ
$YTRT                 $Y(213?.ÿT12J3)1ÿR1.+3(.ÿTA+51E
                                                                  12p5_ÿ30`1_7#23    10
$ÿMFÿA(:2ÿ-77(3.5E1.5ÿ1.535'1+ÿA(:ÿ5(ÿ1'1)5ÿ61-'56ÿ41.1F35+ÿ(2ÿ'3F1ÿ3.+:2-.)1C
                                                                            A(:2ÿ/:1+ÿ>35661'/ÿF2(EÿA(:2ÿ+-'-2A;
-./ÿA(:ÿ6-J1ÿ.(5ÿ411.ÿ72(J3/1/ÿE-5123-'+ÿ1K7'-3.3.?ÿ561ÿ72(?2-E+ÿ-J-3'-4'1ÿ $ÿMFÿA(:ÿ6-J1ÿz:1+53(.+ÿ(2ÿ.11/ÿE(21ÿ3.F(2E-53(.ÿ-4(:5ÿA(:2ÿ23?65+ÿ-./ÿ
-./ÿ561ÿ1.2(''E1.5ÿF(2E+Cÿ)(.5-)5ÿA(:2ÿ712+(..1'ÿ+71)3-'3+5;ÿ                    41.1F35+Cÿ-+*ÿA(:2ÿ+:712J3+(2ÿ(2ÿA(:2ÿ712+(..1'ÿ(FF3)1;ÿ
$m(:2ÿ712+(..1'ÿ+71)3-'3+5ÿ>3''ÿ-'+(ÿ51''ÿA(:ÿ3FÿA(:2ÿ7(+353(.ÿ3+ÿ)(J121/ÿ4Aÿ-.ÿ $ÿH1F3.353(.+ÿF(2ÿ-.Aÿ)(/1/ÿ/-5-ÿ3.ÿ&'()*+ÿ<$=QCÿ=w$[Pÿ-./ÿQ,$,DÿE-Aÿ41ÿ
-?211E1.5ÿ415>11.ÿ-.ÿ1E7'(A11ÿ(2?-.3@-53(.ÿ8:.3(.9ÿ-./ÿ-?1.)A;ÿMFÿA(:ÿ-21ÿ F(:./ÿ3.ÿY1/12-'ÿR12+(..1'ÿZ-.:-'ÿT:77'1E1.5ÿ=P=$<;
1'3?34'1ÿ5(ÿ-./ÿ1'1)5ÿ5(ÿO(3.ÿ-.ÿ1E7'(A11ÿ(2?-.3@-53(.CÿA(:ÿ)-.ÿ1'1)5ÿ5(ÿ6-J1ÿÿ
        3ÿ ÿÿ  ÿÿÿÿÿÿÿÿÿÿ ÿÿÿÿÿÿÿ
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      Exhibit CC
    Case 1:25-cv-00381-ABJ             Document 60-1           Filed 03/05/25        Page 89 of 107




From: Jeremy A. Crouse
Date: On Monday, March 3rd, 2025 at 12:31 PM
Subject: Separation SF50
To:


      Good Morning,



      Attached you will find your Separation SF50 that was pulled from your eOPF.



      Thank you,



      Jeremy A. Crouse



      Jeremy A. Crouse

      Human Resources Assistant

      Bureau of the Fiscal Service
      Personnel Actions Processing Branch


      Phone:



      ***CONTROLLED UNCLASSIFIED INFORMATION***



      <image001.png>



      NOTE: Please be aware that if you email documents containing personally identifiable information
      (PII), the information may not be secure and your email may be intercepted or otherwise viewed
      against your wishes. ARC strongly encourages you not to use unsecured email as a means to
      communicate sensitive information to us. To help secure your data, please contact me and request
      that I send you an encrypted email message; you can then open and respond to the message and this
      will then encrypt your message and any attachments you send me.
Standard Form SO                    Case 1:25-cv-00381-ABJ                                    Document 60-1                         Filed 03/05/25                      Page 90 of 107
Rev. 7191
US. Office of ~rsonnel Management                                           NOTIFICATION OF PERSONNEL ACTION
FPM SU , 196-33, Subcb. 4

1. Name (L.~st,First, l\'liddle)                                                                                                                                                     4. Effec.tiveDate
                                                                                                                                                                                         02/13/2025

FIRST ACTION                                                                                                   SECOND ACTION
  5-A.Code                 5-B. Nature of Action                                                               6-A.Code                   6-B. Nature of Action
     330                     REMOVAL
  5-C.Code                 5-D. Legal Authority                                                                6-C.Code                    6-D. Legal Authority
      ZLM                    EO 14210 DTD 2/11/25
  5-E.Code                 5-F. Legal Authority                                                                6-E.Code                    6-F. Legal Authority


                                                                                                               15. TO: Position Title and Nwuber




8. Pay Plan 9. 0cc. Code           0. Grade or Level 11. Step or Rate ll, Total Salary       13, Pay Basis     16, Pay Plan     17. 0cc. Code   18, Grade or Lenl     19Step or Rate l0, Total Salary/Award    21, Pay Basis

                                                                                              ■
 ■
l:!A, Basic Pay
                -                   ■
                            l:!B, Locality Adj.
                                                        ■
                                                            llC. Adj. Basic Pay           12D. Otber Pay       20A. Basic Pay                    lOB, Locality Adj.      20C. Adj. Basic Pay       lOD. Otber Pay
                                                                                           .00                                                     .00                                                 .00
 14. Name and Location of Position's Organization                                                              22. Name and Location of Position's Organization
CONSUMER FINANCIAL PROTECT BUREAU
DIRECTOR




EMPLOYEE DATA
                                                                                                                                                            25. Agency Use          26. Veterans Preference for RIF
                                   3 - l~Pomtll);sabitity           5- l~PoinUOfbl,r                                      0-Noot           2-Cooditional
                                   4 - l~Point!Compasab»            6- ·~-I/C-bl,/30'l0
                                                                                                                     I    1-P«l'UQfQt      3-~                                                       X        NO
                                                                                                               28. Annuitant Indicator
                                                                                                                 I
 30. Retirement Plan                                                       31. Service Comp. Date (Leave) 32. Work Schedule
                                                                                                                                                                                                Biweekly
                                                                                                                  F       FULL TIME                                                             Pay Period
 POSITION DATA
 34. Position Occupied
          1 - Competitin Strtift
          2 - ExNpttd ~

 38. Duty Station Code


40. Agency Data                41.
                                      3 - SES Gaenl
                                      4- SES CarMr Rfstrvtd




                                                                    42.
                                                                            35. FLSA Category

                                                                              I
                                                                                                               36. Appropri.~tiou Code


                                                                           39. Duty Station (City - County -State or Overseas Location)


                                                                                                  43.                             44.
                                                                                                                                                                                    -
                                                                                                                                                                                    37. Bargaining Unit Status




 45.Remarks
  E.O. 14210                AND THE STOP WORK EMAIL FROM RUSS VOUGHT ENTITLED ADDITIONAL
  DIRECTIVES                ON BUREAU ACTIVITIES DTD 02/10/2025.
          ¥Jtt mtmtn; JJJttb
  ~=~:N~AJMM              ttJRant.




46. Employing Department or Agency                                                                           50. Signature/Authentication and Tide of Approving Official




 - -
  CONSUMER FINANCIAL PROTECTION BUR                                                                          ELECTRONICALLY SIGNED BY:
47. Agency Code             48. Personnel Office ID                  49. Approval Date                       ADAM MARTINEZ
                                                                     02/15/2025                              ACTING CHIEF HUMAN CAPITAL OFFICER
5-Part 50-316                                                                                                                                                                      Editions Prior to 7191Are Not Usable After 6/30193
                                                                     2 - OPF Copy - Long-Term Record - DO NOT DE.STROY                                                                                       NSN7S4o-Ol-333-.,l38
Case 1:25-cv-00381-ABJ   Document 60-1   Filed 03/05/25   Page 91 of 107




      Exhibit DD
         Case 1:25-cv-00381-ABJ              Document 60-1    Filed 03/05/25   Page 92 of 107


  From: Chilbert, Christopher (CFPB)
Subject: RE Requestto fix the consumertinance.gov
                                                nomepage
   Date: Maren4, 2025 at 8:45AM
     To: Scott.Adam (CFPB)Adam.Scott@cfpb   gov.


      Thanks Adam,                       . I believe it is important to restore the home page as soon
      as possible, but that is not currently authorized. It will be a priority for me once we are
      authorized to restore it.
      Thanks,

      Chris Chilbert


      From: Scott, Adam (CFPB)                                  >
      Sent: Tuesday, March 4, 2025 6:53 AM
      To:


                                                           nee.gov homepage

      Thank you,-·      I strongly agree with all of the statements you have made. I have
      added Chris and Ii.I so that they may send this to leadership for approval.

      Please note, we have made this request as recently as yesterday and it was denied
      at that time.

      -Adam

      From:
      Sent: Monday, March 3, 2025 8:37:05 PM
      To: Scott, Adam (CFPB)

      Subject: Request to fix the consumerfinance.gov homepage

      Hey Adam and_,

      The homepage of www.consumerfinance.gov has been returning a 404 (Not Found) error
      since Feb ih. I believe this negatively impacts our statutorily mandated reporting
      requirements (eg for research) and subverts the statutorily mandated initiatives developed
      for consumer education and engagement. By returning a 404, our homepage has been
      *removed* from google search results for "cfpb" whereas previously it was above the fold
      on the first page (and usually the first result). This will negatively impact consumers,
      business groups, and government partners attempting to orient themselves on our site, as
      the homepage was specifically designed to guide these users to the information and data
      we are legally obligated to provide.

      I am therefore requesting work authorization to republish the www.consumerfinance.gm{_
      homepage with the content from Feb 6th , to ensure users can find what they need on our
      website.




      -
      Thanks and regards,
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      Exhibit EE
               Case 1:25-cv-00381-ABJ           Document 60-1          Filed 03/05/25      Page 94 of 107




I
    From: Gueye, Jafnar (CFPB)
    Sent: Tuesday, March 4               •
          .        .


                                                                                                 >; Files, Shannon
                                                    el, Jonatha                                               • James,
    Dana (                                          Hassouni, Lauren (C
    Subject: RE:                                     Is: Payment was decline


    Good morning Chris,


    I suspect for all requests I'll have very similar questions as the one below so feel free to preemptively answer them
    moving forward. For some context in addition to the overall requirements around tightened standards for non-pay
    spending, PCards have an additional complication. There is only one Peard exception approved by GSA for the
    entire bureau with a very limited total limit. We are triaging Peard purchases.



    For all the justifications please let me know who's name to put.

    A few questions:

        • Is this payment for services already incurred or for renewal? If renewal do we have an ability to safeguard the
          past data?
        • What is this data and what is it used for?
        • Are these records?
        • What, if any, statutory requirement \\rill the Bureau not be able to meet at all without this purchase? This is a
          threshold (yes/no) not a level (well/poorly) question.



    Thanks.



    Respectfully,



    Jafnar
             Case 1:25-cv-00381-ABJ      Document 60-1      Filed 03/05/25     Page 95 of 107
 From: Chilbert, Christopher (CFP
 Sent:




                                              '
                                          APls: Payment wa


 Jafnar - I will be passing along several requests today. In this case, we will lose all historical data on
 our Google Analytics platform if we don't pay the bill. Historically it was a pCard purchase. What do we
 need to do to pay it?

 Thanks,



 Chris Chilbert




 From: Files, Shannon (CFPB)
 Sent: Monday, March 3, 2025
 To: Chilbert, Christopher (CFP
                             B)                                   el, Jonathan (CFPB)
                             >
                              Platform & APls: Payment was declined fo



 Hi Chris,



 I don't believe we want to lose all our historical data. This is a fairly low PCard purchase, until we
 understand what we are losing and how it might impact mission and operations, I suggest we make the
 payment if possible.



 Thank you,

I --
 Shannon Files
 Director of Data and Analytics I Technology and Innovation
 Consumer Financial Protection Bureau (CFPB)



 From: CFPB_DigitalAnalytics
         Case 1:25-cv-00381-ABJ Document 60-1          Filed 03/05/25   Page 96 of 107
Date: Monday, March 3, 2025 at 3:44 PM
To: Files, Shannon CFPB




Forwarding for awareness. We will loose all historical data if this is not update with valid
payment.



From: GooglePayments<payments-noreply@google.com>
Sen
To
Su
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       Exhibit FF
             Case 1:25-cv-00381-ABJ                Document 60-1             Filed 03/05/25         Page 98 of 107




From: Huggins, Cassandra (CFP
Sent: Tuesday, M
To


                                     -     -      -            -                                                               >
                                    ification for Supervision staff- F                                                         by
Law


Mark,

I am acknowledging that I received and read your email.

I am attaching, as requested, the email that I sent to Supervision staff. I did not provide this email to the
media, and I do not know who did.

I did not intend to undermine the new administration's ability to supervise agency staff- my only intention
was to ensure that our staff did not act against the direction in the February a email from Acting Director
Vought to cease all supervisory and examination activity. I will work with Supervision leadership to prepare
the reports you have requested, and will request that all supervision staff provide the information you
requested, by the stated deadline.

Thank you.

Cassandra Huggins
Princip~ant                   Director I Supervision Policy & Operations
Mobile:--

Consumer Financial Protection Bureau
consumerfinance.gov


Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the e-mail and
any attachments. An inadvertent disclosure is not intended to waive any privileges.

From: Paoletta, Mark (CFPB
Sent:    day, March
Ti


                                          -      -            -                                                                >
                                 arification for Supervision staff- FW.                                                        by
Law


Good afternoon, Cassandra,
           Case 1:25-cv-00381-ABJ           Document 60-1        Filed 03/05/25      Page 99 of 107
I am writing to raise significant concerns regarding an internal agency communication you apparently sent
yesterday that directly contradicts an email from me to all CFPB staff about my direction for all staff to
perform all statutorily required work.


In an email Adam Martinez sent on Sunday (March 2nd) conveying a message from me to the entire CFPB
staff, I directed ALL CFPB staff to perform all work required by law and that they did not need to seek prior
approval to do so. Nothing I have said or written since then contradicts that. You reached out to me
yesterday, and as I am dual hatted and have job duties at OMB, I was not able to review and respond to
your email yesterday. But I read a news report in Reuters that you reportedly sent an internal agency
communication claiming that “We have requested and received clarification that their message was not
intended to authorize the reinstatement of supervision/examination activity, even though the Bureau is
required by law to carry out these activities.”


Importantly, you did not receive that message from me. You apparently relied on an email from Adam, but
his email refers you to Acting Director Vought’s February 8th email which specifically states that you are to
perform any work “required by law.” And he encouraged you to communicate with me, and presumably, wait
to hear from me before sending out an email that directly contradicted my message on March 2nd to CFPB
employees.


I am concerned that you sent out an internal agency communication on such an unfounded basis that is
false and directly contradicts my March 2nd message without first getting confirmation directly from me. Your
actions severely undermine the Agency leadership’s ability to supervise the agency staff and to ensure that
statutorily required duties are being performed.


Moreover, your internal communication somehow made its way to the press, further undermining our efforts
to supervise agency staff.


Let me be clear to you and the entire supervision office, which I have cc’d on this email: You are authorized
and directed to work on matters specifically required by statute. That said, it is of course within the new
leadership’s discretion as to what matters CFPB will focus on.


The Bureau’s new leadership seeks to understand the status of all of the agency’s actions so it can align
such actions to the Bureau’s new priorities consistent with law. We have been aided in doing so by reports
prepared by the Enforcement Division, Legal Division, and Office of Regulations showing the status of all
actions within their respective purview, upcoming deadlines, statutory requirements, and other relevant
matters. Such information is vital to allowing new leadership to ensure the Bureau is faithfully executing the
law. And in fact, I have approved numerous requests from these and other divisions to perform work that is
statutorily required or mission-aligned with the new leadership.


Accordingly, I am directing you to prepare a report for the Bureau’s leadership providing a description of all
pending examination actions, including their current status. Provide the name of the lead CFPB examiner
on each matter, and the contact information for the lead attorney for the company under examination.


As part of this report, please flag any particular actions that you believe are specifically required by statute.
Leadership will review it and determine which actions to continue to pursue and to close.


Additionally, please notify every employee in your division to provide to me a written summary of the specific
matters they are working on, with the name of the entity being examined, how the matter was commenced
and approximately how many hours they have spent on the matter.


Please submit your report and direct every employee in your division to submit their response to me by COB
Monday, March 10th.
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Please confirm by 6 pm today that you have received and read this email.


Please forward to me by 6 pm the internal agency communication you reportedly sent that is quoted in the
Reuters news report.


Finally, did you provide your internal agency communication to the media or do you know who provided it?
Please provide your answer to me by 6 pm today.


Thank you for your prompt attention to this matter.




Mark


Mark Paoletta
Chief Legal Officer
CFPB




From: Huggins, Cassandra (CFPB)
Sent: Monday, March 3, 20 s 10:33
To: Paoletta, Mark (CFPB)                              >
Cc: Hagins, Calvin (CFPB)                              >
Subject: request for clarifica                        - FW: All Hands Message re: Work Required by Law


Good morning Mark,

I've received a number of messages from staff who are understandably confused by the information in the
email sent by Adam Martinez. I would like to get clarification on what exactly Supervision staff is expected to
be doing. I did reach out to Adam, and although he did say that supervision/examination activity is not to
resume, he encouraged me to reach out to you directly for confirmation.

The Acting Director's February 8 message directed the stoppage of all supervision and examination activity,
despite the fact that the work is required by law (12 CFR 1024, 1025, and 1026 require the Bureau to
conduct such supervisory activities). We've also stopped all work supporting supervision and examination
activity, including operational activities such as policy/procedure development; quality management reviews;
systems and registration oversight; reporting, analytics, monitoring, exam prioritization/scheduling; and
human capital activities that support supervision. We've also told staff to not engage in activities requiring
coordination with parties outside of the Bureau, including coordination with other federal/state regulatory
agencies, participation on FFIEC task forces/subcommittees, or engagement with supervised entities.

Supervision staff has been authorized to work on some isolated tasks (unwinding the larger participants
payments rule, a handful of briefings/information gathering for Sr. leadership, and administrative tasks like
WebTA/Concur approval), but otherwise it is my understanding that they should continue to operate on
administrative leave unless a discrete activity has been approved. Please confirm that the message
you sent is not intended to authorize the reinstatement of supervision/examination activity and the
activities that support this function despite the fact that the Bureau is required by law to conduct
these activities.

Thanks,
Casey
            Case 1:25-cv-00381-ABJ                Document 60-1              Filed 03/05/25        Page 101 of 107
Cassandra Huggins
Principal Deputy Assistant Director | Supervision Policy & Operations
Mobile:

Consumer Financial Protection Bureau
consumerfinance.gov


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any attachments. An inadvertent disclosure is not intended to waive any privileges.

From: Martinez, Adam (CFPB) <                                            >
Sent: Sunday, March 2, 2025 3:33 PM
Cc: Paoletta, Mark (CFPB) <                       >
Subject: All Hands Message re: Work Required by Law


Message from Mark Paoletta, Chief Legal Officer

On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any
statutorily required work, as he set forth in his February 8th email.

On February 8, 2025, you received an email from Acting Director Vought directing you to halt several
classes of work unless “required by law” or expressly approved by the Acting Director. On February 10,
2025, you received an email from Acting Director Vought directing you to reach out to me for the
authorization required by the February 8 email. These measures were intended to ensure that new
leadership could establish operational control over the agency while ensuring that it would continue to fulfill
its statutory duties. Many of you understood this and continued to perform functions required by law and
sought approval from me to perform work, which I have promptly granted.

It has come to my attention, however, that some employees have not been performing statutorily required
work. Let me be clear: Employees should be performing work that is required by law and do not need to
seek prior approval to do so. If you have any questions, please reach out to me immediately, and I will
promptly give you an answer and authorization if warranted. If you are aware of other employees that are
needed to assist you in performing a statutorily required task but are not doing so, please raise this with me
immediately.

Thank you for your attention to this matter.


Mark Paoletta
Chief Legal Officer
CFPB
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     Exhibit GG
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     Exhibit HH
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                                                    LIVE NOW




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                                               March 4, 2025




President Donald J. Trump immediately undertook a bold, necessary effort to
downsize the federal government by ending the waste, fraud, and abuse that
has permeated virtually all aspects of the bureaucracy - making sure
government works for the taxpayers who fund it.
     •   President Trump established the Department of Government Efficiency
         (DOGE) to maximize government productivity and ensure the best use of
         taxpayer funds - which has already achieved billions of dollars in
         saving.§ for taxpayers.
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• President Trump commenced his plan to downsize the federal
   bureaucracy and eliminate waste, bloat, and insularity.
     0    President Trump ordered federal workers to return to the office five
          days a week.
     0    President Trump ordered federal agencies hire no more than one
          employee for every four employees who leave.
     0    President Trump ended the wasteful Federal Executive Institute,
          which had become a training ground for bureaucrats.
     0    President Trump ordered the termination of all federal Fake News
          media contracts.

• President Trump is reigning in agencies overtaken by unelected
   bureaucrats.
     0    President Trump stopped the waste, fraud, and abuse within
          USAID — ensuring taxpayers are no longer on the hook for funding
          the pet projects of entrenched bureaucrats, such as sex changes in
          Guatemala.
     0    President Trump ordered the Consumer Financial Protection Bureau
          — the brainchild of Elizabeth Warren,
                                        Warren which funneled cash to left-
          wing advocacy groups — to halt operations.
     0    The Environmental Protection Agency canceled tens of millions of
          dollars in contracts to left-wing advocacy groups, announced an
          investigation into a scheme by Biden EPA staffers to shield billions of
          dollars from oversight and accountability, and put 168
          “environmental justice” employees on leave.
     0    President Trump reversed the massive over-expansion of the IRS
          that took place during the Biden Administration.
     0    President Trump ordered a review of funding for all non-
          governmental organizations so taxpayers are no longer funding
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          those that undermine America’s interests.
             ■   The review identified 15,000 grants worth $60 billion for
                 potential elimination.
     0    The Department of State issued a “pause” on existing foreign aid
          grants to ensure accountability and efficiency.
     0    President Trump shut down the wasteful Biden-era “Climate Corps”
          program.

• President Trump lifted last-minute collective bargaining agreements
   issued by the Biden Administration, which sought to impede reform.




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